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 2   Andrea Rosenkranz, Esq. SBN 301559
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     O’HAGAN MEYER LLP
 4   4695 MacArthur Court, Suite 210
 5   Newport Beach, CA 92660
     Telephone: (949) 942-8500
 6   Facsimile: (949) 942-8510
 7   Attorney for Defendant,
 8   BROSNAN RISK CONSULTANTS, LTD
 9
                    IN THE UNITED STATES DISTRICT COURT
10
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
12
     RAYMOND MURILLO, individually and                 Case No.
13
     on behalf of all others similarly situated,       DECLARATION OF MATTHEW
14
                                                       C. SGNILEK, ESQ. IN SUPPORT
15               Plaintiff,                            OF NOTICE OF REMOVAL OF
                                                       CIVIL ACTION PURSUANT TO
16   v.
                                                       28 U.S.C. §§ 1332, 1441, 1446,
17                                                     AND 1453
     BROSNAN RISK CONSULTANTS, LTD;
                                                       [CAFA JURISDICTION]
18
     and DOES 1 through 20, inclusive.
19
20               Defendants.                           Complaint Filed: March 12, 2021
                                                       Trial Date:      TBD
21
22
           I, Matthew C. Sgnilek, declare as follows:
23
           1.     I am an attorney duly admitted to practice in all of the courts of the State
24
     of Californa and I am a partner with O’Hagan Meyer, attorneys of record for
25
     Defendant BROSNAN RISK CONSULTANTS, LTD (“Defendant”). The facts set
26
     forth herein are of my own personal knowledge, and if sworn I could and would
27
     competently testify thereto.
28                                                 1
      DECLARATION OF MATTHEW C. SGNILEK, ESQ. IN SUPPORT OF NOTICE
       OF REMOVAL OF CIVIL ACTION PURSUANT TO 28 U.S.C. §§ 1332, 1441,
                             1446, AND 1453
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 1           2.   Attached hereto as Exhibit 1 is a true and correct copy of the Summons,

 2   Complaint, and Civil Case Cover Sheet, which were filed in the Superior Court of

 3   California, County of San Bernardino, Case Number CIVSB2106646, on March 12,

 4   2021.

 5           3.   Attached hereto as Exhibit 2 is a true and correct copy of the Certificate

 6   of Assignment, which was filed in the Superior Court of California, County of San

 7   Bernardino, Case Number CIVSB2106646, on March 12, 2021.

 8           4.   Attached hereto as Exhibit 3 is a true and correct copy of the Initial Case

 9   Management Order, which was filed in the Superior Court of California, County of

10   San Bernardino, Case Number CIVSB2106646, on April 12, 2021.

11           5.   Attached hereto as Exhibit 4 is a true and correct copy of the Proof of

12   Service of Summons and Complaint, which was filed in the Superior Court of

13   California, County of San Bernardino, Case Number CIVSB2106646, on April 23,

14   2021.

15           6.   Attached hereto as Exhibit 5 is a true and correct copy of the Joint Initial

16   Status Conference Statement, which was filed in the Superior Court of California,
17   County of San Bernardino, Case Number CIVSB2106646, on June 16, 2021.
18           7.   Attached hereto as Exhibit 6 is a true and correct copy of Defendant’s
19   Notice of Appearance, which was filed in the Superior Court of California, County of
20   San Bernardino, Case Number CIVSB2106646, on June 16, 2021.
21           8.   Attached hereto as Exhibit 7 is a true and correct copy of the Court’s
22   Minute Order following the Complex Case Management Conference, which was filed
23   in the Superior Court of California, County of San Bernardino, Case Number
24   CIVSB2106646, on June 23, 2021.
25   ///
26
27   ///
28                                              2
       DECLARATION OF MATTHEW C. SGNILEK, ESQ. IN SUPPORT OF NOTICE
        OF REMOVAL OF CIVIL ACTION PURSUANT TO 28 U.S.C. §§ 1332, 1441,
                              1446, AND 1453
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 1         9.     Attached hereto as Exhibit 8 is a true and correct copy of Defendant’s

 2   Answer, which was filed in the Superior Court of California, County of San

 3   Bernardino, Case Number CIVSB2106646, on July 23, 2021.

 4
 5
 6
 7         I declare under penalty of perjury under the laws of the United States of

 8   America and the State of California that the foregoing is true and correct and that this

 9   declaration was executed on July 23, 2021, at Newport Beach, California.

10
11
12                                              __________________________
                                                Matthew C. Sgnilek
13
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28                                              3
      DECLARATION OF MATTHEW C. SGNILEK, ESQ. IN SUPPORT OF NOTICE
       OF REMOVAL OF CIVIL ACTION PURSUANT TO 28 U.S.C. §§ 1332, 1441,
                             1446, AND 1453
Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 4 of 79 Page ID #:27




                    Exhibit “1”
              Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 5 of 79 Page ID #:28
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                                                                                                         "2‘
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                                                                                                                                                V                                                            SUM-1oo
                                                             SUMMONS                                                                                         (soggﬁiuxfsrouggffégm;
                                                    (CITACION JUDICIAL)
         NOTICE To DEFENDANT:                                                                                                                                       F    l       L E              D
         (A Vlso      AL DEMANDA DO).-                                                                                                                 SléFEEJﬁW
                                                                                                                                                                    8,93; gg’gﬁk’g‘ggm
         BROSNAN RISK CONSULTANTS, LTD; and DOES                                                                                                           SA" BERNARD'NO
                                                                                                                    1   through 20,                                                               msmm
         inclusive,
FAXE;                                                                                                                                                           MAR              1.   2   2021
        YOU ARE, BEING SUED BY PLAINTIFF:
        (LO ESTA DEMANDANDO EL DEMANDANTS:
         RAYMOND MURILLO, individually and on behalf of all others
         similarly situated,
                                                                                                                                                  “Y       M  r,“    q
                                                                                                                                                                    ’5
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                                                                                                                                                       Emmﬁﬁﬁﬁﬁﬁixiﬂotz. DEPUTY
                                                                                                                                                                             '
                                                                                                                                                                                  "ﬂ          V


                                                                                                                                                                                                   (I




          NOTICE! You have been sued. The                  court   may   decide against you without your being heard unless you respond within 30 days. Read the information
          below.
            You have 30 CALENDAR DAYS after this summons and legal papers are served on you to ﬁle a written response at this court and have a copy
         served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper |egal form if you want the court to hear
                                                                                                                                                                your
         case. There may be a court form that you can use for your response. You can ﬁnd these coutt forms and more information at the California Courts
         Online  SeIf—Help  Center (www.courﬂnfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the ﬁling fee, ask
         the court clerk for a fee waiver form. If you do not ﬁle your response on time, you may lose the case by default, and your wages, money, and property
         may be taken without further warning from the court.
             There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
         referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonproﬁt legal services program. You can
                                                                                                                                                            locate
         these nonproﬁt groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online SeIf-Help Center
         (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
         costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
         [A VISO! Lo han demandado. Si no responde denﬁo de 30 dias, Ia cone puede decidir en su contra sin escuchar su versio’n. Lea Ia informacio’n a
         continuacién.
            Tiene 30  DIAS DE CALENDARIO después de que le entreguen esm citacio’n y pape/es Iegales para presenmr una respuesta por escn'to en esta
         corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefénica no Io pmtegen. Su respuesta por escn‘to tiene que estar
         en formato legal correcto si desea que procesen su caso en Ia code. Es posib/e que haya un formulan‘o que usted pueda usar para su respuesta.
         Puede encontrar estos formularios de la corte y ma’s informacién en el Centre de Ayuda de Ias Cortes de California (vvww.sucorte.ca.gov), en Ia
         biblioteca de [eyes de su condado o en Ia corte que 1e quede ma’s cerca. Si no puede pagarla cuota de presentacio'n, pida al secretario de Ia corte
         que le dé un formulan'o de exencio’n de pago de cuotas. Si no presenta su respuesta a tiempa, puede perder el caso por incumplimiento y Ia oorte Ie
         podra’ quitar su sueldo, dinero
                                         y bienes sin ma’s advertencia.
           Hay otros requisites legales. Es recomendable que flame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
         remisién a abogados. Si no puede pager a un abogado, es posible que cumpla con Ios requisites para obtener servicios Iegales gratuitos de un
         programa de servicios Iegales sin ﬁnes de Iucro. Puede encontrar estos grupos sin ﬁnes de Iucro en el sitio web de California Legal Services,
         (www.lawhelpcalifornia.org), en e/ Centre de Ayuda de Ias Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con Ia corte o el
         co/egio de abogados locales. AVISO: Par Iey, la cone tiene derecho a reclamarlas cuotas y Ios costos exentos por imponer un gravamen sabre
         cualquier recuperacién de $10,000 o’ ma’s de valor recibida mediante un acuerdo o una concesio’n de arbitraje en un caso de derecho civil. Tiene que
         pagar e/ gravamen de la corte antes de que Ia code pueda desechar el case.

        The name and address of the court is:                                                                                                  CASE NUMBER;
        (El nombre y direccio’n de la cone es):
                                                                                                                                               WWWSB                              2       ‘       0 6 6 a 6
         Superior Court of the State of California, County of San Bemardino
        247 West Third                    Street,   San Bemardino,             CA 92415
        The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
         El nombre la direccio’n el numero de teléfono del abo ado del demandante o del demandante ue no                                                        tiene        abo ado es                 .'




        ‘Jessica L. Campbell, AEGIS                          LAW
                                                  FIRM, PC, 9811 Irvine Center D11, #100, Irvine,                                                             CA 92613, 949.379.6250
        DATE:
        (Fecha)               MAR 1 2          202‘
                                                                                                                   Clerk,by
                                                                                                                   (Secretario)_
                                                                                                                                    KO                                                                       .Deputy
                                                                                                                                                                                                             (Adjunto)
                                  summons, use Proof of Service of Summons (form P
        (For proof of service of this                                                       —
                                                                                               0).)
        (Para prueba de entrega de esta citatio'n use el formulario Proof of Service of Summons, ( 08-010)).

         [SEAL]
                                                      1.

                                                      2.
                                                            E
                                        NOTICE TO THE 'P_ERSON SERVED: You are served

                                                            E          as an indIVIdual defendant.
                                                                       as the person sued under the                     ﬁctitious   name   of (specify):



                                                      3_    E          on behalrowspechy):

                                                             E
                                                             E
                                                             under:                CCP 41 6.10
                                                                                   CCP 416.20
                                                                                                         (corporation)                                     CCP 416.60
                                                                                                                                                           CCP 41 6.70
                                                                                                                                                                                 (minor)


                                                             E                     CCP 416.40
                                                                                                         (defunct corporation)
                                                                                                         (association or partnership)
                                                                                                                                                E          CCP 416.90
                                                                                                                                                                                 (conservatee)
                                                                                                                                                                                 (authorized person)




        Form Adopted
                                                      4.    EE                     other (specify):
                                                                       by personal delivery on             (date):
                                                                                                                                                                                                               Page   1   of   1

                       for   Mandatory Use
          Judicial Council of California
                                                                                                   SUMMONS                                                              Code      of Civil Procedure         §§ 41220, 465
                                                                                                                                                                                                   www.courtinfo.ca.gov
          SUM-100    [Rev. July   1,   2009]
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                                                        H"   131,,
Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 7 of 79 Page ID #:30




         AEGIS LAW FIRM, PC
         SAMUEL A. WONG, StateBarNo.217104
     2
         KASHIFHAQUE, State Bar No. 218672
     3   JESSICA L. CAMPBELL, State Bar No. 280626
         9811 Irvine Center Drive, Suite 100
     4   Irvine, California 92618
         Telephone: (949) 379-6250
     5   Facsimile: (949) 379-6251
         Email: jcampbell@aegis1awfum.com
     6
         Attorneys for Plaintiff Raymond Murillo, individually,
     7   and on behalf of all others similarly situated.
     8

     9                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
    10
                                  FOR THE COUNTY OF SAN BERNARDINO
    11

         RAYMOND MURILLO, individually and
    12
         o.n behalf of all others similarly sitaated,   CaseNo.     C\V SB 2 1 0 6 6 ~ 6
    13                                                  CLASS ACTION COMPLAINT FOR:
                        Plaintiffs,
    14                                                    1. Failure to Pay Minimum Wages;
                 V.
    15
                                                          2. Failure to Pay Overtime Wages;
    16   BROSNAN RISX.CONSULTANTS, LTD;
         and DOES 1 through 20, inclusive,                3. Failure to Provide Meal Periods~
    17
                         Defendants.                      4. Failure to Penn.it Rest Breaks;
    18
                                                          5. Failure to Reimburse Business Expenses;
    19
                                                          6. Failure to Provide Accmate Itemized Wage
    20
                                                             Statements;
    21
                                                          7_ Failure to Pay Weekly;
    22
                                                          8. Failure to Pay All Wages Due Upon
    23                                                       Separation of Employment; and
    24                                                    9. Violation of Business and Professions
    25                                                       Code §§ 17200, et seq.

    26                                                  DEMAND FOR JURY TRIAL

    27

    28


                                              CLASSACITONCOrv:IPLAIN.t
Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 8 of 79 Page ID #:31




              Plaintiff Raymond Murillo, individually and on behalf of others similarly situated, alleges

  2    as follows:

  3                   NATURE OF ACTION AND INTRODUCTORY STATEMENT

  4            l.      Plaintiff Raymond Murillo ("Plaintiff") brings this putative class action against

  5    defendants Brosnan Risk Consultants, LTD, and DOES 1 through 20, inclusive ("Defendants"),

  6    on Plaintiffs own behalf and on behalf of a putative class of Defendants' non-exempt employees

  7    throughout California.

  8           2.       Defendants are in the industry of security services.

  9           3.       Through thjs action, Plaintiff alleges that Defendants engaged in a systematic

 10    pattern of wage and hour violations under the California Labor Code and Industrial Welfare

 11    Com.mission ("IWC") Wage Orders, all of which contribute to Defendants' deliberate unfair

 12    competition.

 13           4.       Plaintiff is informed and believe, and thereon alleges, that Defendants have

 14    increased their profits by violating state wage and hour laws by, among other things:

 15                    (a)      failing to pay all wages (including minimum wages and overtime wages);

  16                   (b)      failing to provide lawful meal periods or compensation in lieu thereof;

 17                    (c)      failing to authorize or pennit lawful rest breaks or provide compensation

  18                            in lieu thereof;

  19                   (d)      failing to rei'mburse necessary business-related costs;

 20                    (e)      failing to provide accurate itemized wage statements; and

 21                    (f)      failing to pay all wages due upon separation of employment.

 22            5.      Plaintiff seeks monetary relief against Defendants on behalf of himself and all

 23    others similarly situated in California to recover, among other things, unpaid wages, un-

  24   reimbursed business expenses, benefits, interest~ attorneys' fees, costs and expenses, and

  25   penalties pursuant to Labor Code§§ 201, 201.3, 202, 203,204,210, 226, 226.7, 510, 512, 1194,

  26   1194.2, 1197, 1198, 2800, and 2802, and Code of California Civil Procedure § 1021.5.

  27   II I

  28   II I
                                                         -] -

                                             CLASS ACTION COMPLAINT
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                                       JURISDICTION AND VENUE

   2           6.      This is a class action pursuant to California Code of Civil Procedure § 382. The

   3   monetary damages and restitution sought by Plaintiff exceed the minimal jurisdictional limits of

   4   the Superior Court and will be established according to proof at trial.

   5           7.      This Court has jurisdiction over this action pursuant to the California

   6   Constitution, Article Vl, § 10, which grants the Superior Court original jurisdiction in all causes

   7   except those given by statutes to other courts. The statutes under which this action is brought do

   8   not specify any other basis for jurisdiction.

   9           8.      This Court has jurisdiction over all Defendants because, upon information and

  10   belief, they are citizens of California, have sufficient minimum contacts in California, or

  11   otherwise intentionally avail themselves of the California market so as to render- the exercise of

  12   jurisdiction over them by the California courts consistent with traditional notions of fair play and

  13   substantial justice.

  14           9.      Venue is proper in this Court because, upon information and belief, Defendants

  15   reside, transact business, or have offices in this county, and the acts and omissions alleged herein

  16   took place in this county.

  17                                            THE PARTIES
  18            10.    Plaintiff is a resident of California and worked for Defendants during the relevant

  19   time periods as alleged herein.

  20            11.    Plaintiff is informed and believes, and thereon alleges that at all times hereinafter

  21   mentioned, Defendants were and are subject to the Labor Code and JWC Wage Orders as

  22   employers, whose employees were and are engaged throughout this county and the State of

  23   California.

  24            12.    Plaintiff is unaware of the true names or capacities of the defendants sued herein

  25   under the fictitious names DOES 1 through 20, but w ill seek leave of this Court to amend this

  26   Complaint and serve such fictitiously named defendants once their names and capacities become

  27   known.

  28
                                                        -2-
                                           CLASS ACTION COMPLAINT
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   l           13.    Plaintiff is informed and believes, and thereon alleges, that DOES 1 through 20

   2   are or were the partners, agents, owners, shareholders, managers, or employees of Defendants at

   3   aU relevant times.

   4           14.    Plaintiff is informed and believes, and thereon a1leges, that each defendant acted

   5   in all respects pertinent to this action as the agent of the other defendant, carried out a joint

   6   scheme, business plan, or policy in all respects pertinent hereto, and the acts of each defendant

   7   are legally attributable to the other defendant. Furthermore, defendants in all respects acted as the

   8   employer and/or joint employer of Plaintiff and the class members.

   9           15.    Plaintiff is informed and believes, and thereon alleges, that each and all of the acts

  10   and omissions alleged herein were performed by, or are attributable to, Defendants and/or DOES

  11   1 through 20, acting as the agent or alter ego for the other, with legal authority to act on the

  12   other's behalf. The acts of any and all Defendants were in accordance with, and represent, the

  13   official policy of Defendants.

  14           16.    At all relevant times, Defendants, and each of them, acted within the scope of

  15   such agency or employment, or ratified each and every act or omission complained of herein. At

  16   all relevant times, Defendants, and each of them, aided and abetted the acts and omissions of
  17   each and all the other Defendants in proximately causing the damages herein alleged.

  18           17.    Plaintiff is informed and believes, and thereon alleges, that each of said

  19   Defendants is in some manner intentionally, negligently, or otherwise responsible for the acts,

  20   omissions, occurrences, and transactions alleged herein.

  21                                CLASS ACTION ALLEGATIONS
  22           18.    Plaintiff brings this action under Code of Civil Procedure § 382 on Plaintiff's own

  23   behalf and on behalf of all others similarly situated who were affected by Defendants' Labor

  24   Code, Business and Professions Code§§ 17200, and IWC Wage Order violations.

  25           19.    All claims alleged herein arise under California law for which Plaintiff seeks

  26   relief authorized by California law.

  27           20.    Plaintiff's proposed class consists of and is defined as follows:

  28
                                                        -3-
                                           CLASS ACTION COMPLAINT
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                         Class

    2                    All California residents currently or formerly employed by Defendant as non-

    3                    exempt employees in the State of California at any time between September 14,

    4                    2016t and the date of class certification ("Class").

    5          21.       Plaintiff also seeks to certify the following subclasses of employees:

    6                    Waiting Time Subclass

    7                    All members of the Class who separated their employment with Defendant at any

    8                    time between September 14, 2017 and the date of class certification ("Waiting

    9                    Time Subclass").

   10          22.       Plaintiff reserves the right to modify or re-define the Class, establish additional

   11   subclasses, or modify or re-defme any class or subclass definition as appropriate based on

   12   investigation, discovery, and specific theories ofliability.

   13          23.       Members of the Class and the Waiting Time Subclass described above will be

   14   collectively referred to as "Class Members."

   15          24.       There are common questions of law and fact as to the Class Members that

   16   predominate over any questions affecting only individual members including, but not limited to,

   17   the following:

   18                    (a)     Whether Defendants failed to pay Plaintiff and Class Members all wages

   19                            (including minimum wages and overtime wages) for all hours worked by

   20                            Plaintiff and Class Members.

   21                    (b)     Whether Defendants required Plaintiff and Class Members to work over
   22                            eight (8) hours per day, over twelve (12) hours per day, and/or over forty

   23                            (40) hours per week and failed to pay them proper overtime compensation

   24                            for all overtime hours worked.

   25

   26
   27   1
         The statute of limitations for this matter was to] led between April 6, 2020 and October 1, 2020
        pursuant to Cal. Rules of Court, Appendix I, Emergency Rule No. 9.
   28
                                                          -4-
                                             CLASS ACTION COMPLAINT
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                      (c)    Whether Defendants deprived Plaintiff and Class Members of timely meal

   2                         periods or required Plaintiff and Class Members to work through meal

   3                         periods without legal compensation.

   4                  (d)    Whether Defendants deprived Plaintiff and Class Members of rest breaks

   5                         or required Plaintiff and Class Members to work through rest breaks.

   6                  (e)    Whether Defendants failed to reimburse Plaintiff and Class Members for

   7                         necessary business-related costs expended for the benefit of Defendants.

   8                  (f)    Whether Defendants failed to provide Plaintiff and Class Members

   9                         accurate itemized wage statements.

  10                  (g)    Whether Defendants were required to and failed to pay wages weekly to

  11                         Plaintiff and Class Members.

  12                  (h)    Whether Defendants failed to timely pay the Waiting Time Subclass all

  13                         wages due upon termination or within seventy-two (72) hours of

  14                         resignation.

  15                  (i)    Whether Defendants' conduct was willful or reckless.

  16                  (j)    Whether Defendants engaged in unfair business practices in violation of

  17                         Business and Professions Code §§ 17200, et seq.

  18          25.     There is a well-defined community of interest in this litigation and the proposed

  19   Class and subclasses are readily ascertainable:

  20                  (a)    Numerosity; The Class Members are so numerous that joinder of all

  21   members is impractical. Although the members of the Class are unknown to Plaintiff at this time,

  22   on information and belief, the Class is estimated to be greater than fifty (50) individuals. The

  23   identities of the Class Members are readily ascertainable by inspection of Defendants'

  24   employment and payroll records.

  25                  (b)     Typicality: Plaintiff's claims (or defenses, if any) are typical of the claims

  26   (or defenses, if any) of the Class Members because Defendants' failure to comply with the

  27   provisions of California's wage and hour laws entitled each Class Member to similar pay,

  28   benefits, and other relief. The injuries sustained by Plaintiff arc also typical of the injuries
                                                         -5-
                                            CLASS ACTION COMPLAINT
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    1   sustained by the Class Members, because they arise out of and are caused by Defendants'

    2   common course of conduct as alleged herein.

    3                  (c)     Adequacy: Plaintiff will fairly and adequately represent and protect the

    4   interests of all Class Members because it is in Plaintiff's best interest to prosecute the claims

    5   alleged herein to obtain full compensation and penalties due. Plaintiff's attorneys, as proposed

    6   class counsel, are competent and experienced in litigating large employment class actions and

    7   versed in the rules governing class action discovery, certification, and settlement. Plaintiff has

    8   incurred and, throughout the duration of this action, will continue to incur attorneys' fees and

    9   costs that have been and will be necessarily expended for the prosecution of this action for the

   10   substantial benefit of the Class Members.

   11                  (d)     Superiority: The nature of this action makes use of class action

   12   adjudication superior to other methods. A class action will achieve economies of time, effort, and
   ]3   expense as compared with separate lawsuits and will avoid inconsistent outcomes because the

   14   same issues can be adjudicated in the same manner for the entire Class and Waiting Time

   15   Subclass at the same time. If appropriate, this Court can, and is empowered to, fashion methods

   16   to efficiently manage this case as a class action.

   17                  (e)     Public Policy Considerations: Employers in the State of California violate

   18   employment and labor laws every day. Current employees are often afraid to assert their rights

   19   out of fear of direct or indirect retaliation. Former employees are fearful of bringing actions

   20   because they believe their former employers might damage their future endeavors through

   21   negative references and/or other means. Class actions provide class members who are not named

   22   in the complaint with a type of anonymity that allows for the vindication of their rights while

   23   affording them privacy protections.

   24                                    GENERAL ALLEGATIONS

   25           26.    At all relevant times mentioned herein, Defendants employed Plaintiff and other

   26   California residents as non-exempt employees or employees throughout California at

   27   Defendants' California business location(s).

   28
                                                         -6-
                                            CLASS ACTION COl'v1PLA1NT
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              27.     Defendants continue to employ non-exempt employees or employees within
   2   California.

   3          28.     Plaintiff is infonned and believes, and thereon alleges, that at all times herein

   4   mentioned, Defendants were advised by skilled lawyers, employees, and other professionals who

   5   were knowledgeable about California's wage and hour laws, employment and personnel
   6   practices, and the requirements of California law.
   7          29.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

   8   should have known that Plaintiff and Class Members were entitled to receive wages for all time

   9   worked (including minimum wages and overtime wages) and that they were not receiving all

  10   wages earned for work that was required to be performed. In violation of the Labor Code and

  11   IWC Wage Orders, Plaintiff and Class Members were not paid all wages (including minimum

  12   wages and overtime wages) for all hours worked. including, but not limited to requiring Plaintiff

  13   and Class Members to work off-the-dock and through meal periods, requiring Plaintiff and Class
  14   Members to remain on premises and on call during meal periods, rounding the hours worked by

  15   Plaintiff and Class Members to Defendants' advantage, and failing to compensate Plaintiff and

  16   Class Members for these hours.

  17          30.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

  18   should have known that Plaintiff and Class Members were entitled to receive all required meal

  19   periods or payment of one (1) additional hour of pay at Plaintiff's and Class Members' regular

  20   rate of pay when they did not receive a timely, uninterrupted meal period. In violation of the

  21   Labor Code and JWC Wage Orders, Plaintiff and Class Members did not receive all meal periods

  22   or payment of one (J) additional hour of pay at Plaintiff's and Class Members' regular rate of
  23   pay when they did not receive a timely, uninterrupted meal period.

  24          31.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

  25   should have known that Plaintiff and Class Members were entitled to receive all rest breaks or

  26   payment of one (1) additional hour of pay at Plaintiff's and Class Members' regular rate of pay
  27   when a rest break was late, missed, or interrupted. In violation of the Labor Code and IWC Wage

  28   Orders, Plaintiff and Class Members did not receive all rest breaks or payment of one ( 1)
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    1   additional hour of pay at Plaintiffs and Class Members' regular rate of pay when a rest break

   2    was missed, late, interrupted, or on-duty.

   3           32.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

   4    should have known that Plaintiff and Class Members were entitled to reimbursement and/or

   5    indemnification for all necessary business expenditures or losses as a direct consequence of the

   6    discharge of their duties, or of their obedience to the directions of Defendants. In violation of the

   7    Labor Code and IWC Wage Orders, Plaintiff and Glass Members incurred necessary b usiness

    8   expenses or losses, such as personal cell phone use required to use Defendants' Mobile App. but

   9    were not reimbursed nor indemnified of such expenses or losses that were incurred as a direct

   10   consequence of the discharge of their duties, or of their obedience to the directions of

  11    Defendants.

  12           33.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

  13    should have known that Plaintiff and Class Members were entitled to receive itemized wage

   14   statements that accurately showed the following information pursuant to the Labor Code: (1)

   15   gross wages earned; (2) total hours worked by the employee; (3) the number of piece-rate units

   16   earned and any applicable piece rate if the employee is paid on a piece-rate basis; (4) all

   17   deductions, provided that all deductions made on written orders of the employee may be

   18   aggregated and shown as one item; (5) net wages earned; (6) the inclusive dates of the period for

   19   which the employee is paid; (7) the name of the employee and only the last four digits of his or

  20    her social security number or an employee identification number other than a social security

   21   number; (8) the name and address of the legal entity that is the employer; and (9) all applicable

  22    hourly rates in effect during the pay period and the corresponding number of hours worked at

   23   each hourly rate by the employee. In violation of the Labor Code, Plaintiff and Class Members

  24    were not provided with accurate itemized wage statements.

   25           34.    Defendants knew or should have known that they were required to pay Plaintiffs

   26   and Class Members on a weekly basis. Plaintiffs and Class Members provided security services

  27    and/or were employed as security guards who were assigned to provide security services to

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   1   specific businesses, often on a temporary basis, for under ninety (90) days. Yet Plaintiffs and
   2   Class Members were not paid on a weekly basis as required under Labor Code§ 201.3.

   3          35.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

   4   should have known that the Waiting Time Subclass was entitled to timely payment of wages due

   5   upon separation of employment. In violation of the Labor Code, the Waiting Time Subclass did

   6   not receive payment of all wages within the permissible time periods.

   7          36.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

   8   should have known they had a duty to compensate Plaintiff and Class Members, and Defendants
   9   had the financial ability to pay such compensation but willfully, knowingly, and intentionally

  10   failed to do so in order to increase Defendants' profits.

  11          37.     Therefore, Plaintiff brings this lawsuit seeking monetary and injunctive relief

  12   against Defendants on Plaintiff's own behalf and on behalf of all Class Members to recover,

  13   among other things, unpaid wages (including minimum wages and overtime wages), unpaid meal
  14   period premium payments, unpaid rest period premium payments, unreimbursed business

  J5   expenditures, interest, attorneys' fees, penalties, costs, and expenses.

  16                                     FIRST CAUSE OF ACTION

  17                              FAILURE TO PAY MINIMUM WAGES

  18      (Violation of Labor Code§§ 1194, 1194.2, and 1197; Violation oflWC Wage Order §3-4)

  19           38.    Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

  20   though fully set forth herein.

  21           39.    Labor Code §§ 1194 and 1197 provide that the minimum wage for employees
  22   fixed by the TWC is the minimum wage to be paid to employees, and the payment of a lesser

  23   wage than the minimum so fixed is unlawful.

  24           40.    Plaintiff and Class Members were employees entitled to the protections of Labor
  25   Code§§ l 194 and 1197.

  26           41 .    During the relevant time period, Defendants failed to pay Plaintiff and Class
  27   Members all wages owed when Defendants did not pay for all hours worked, including, but not
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   1   limited to, hours spent working off-the-clock and through meal periods while clocked out, and

   2   time rounded in Defendants' favor, among others.

   3           42.     During the relevant time period, Defendants failed to pay at least minimum wage

   4   to Plaintiff and Class Members for all hours worked pursuant to Labor Code§§ 1194 and 1197.

   5           43.     Defendants' failure to pay Plaintiff and Class Members the required minimum

   6   wage violates Labor Code §§ 1194 and 1197. Pursuant to these sections~ Plaintiff and Class

   7   Members are entitled to recover the unpaid balance of their minimum wage compensation as

   8   well as interest, costs, and attorneys' fees.

   9          44.     Pursuant to Labor Code § 1194.2, Plaintiff and Class Members are entitled to

  10   recover liquidated damages in an amount equal to the wages unlawfully unpaid and the accrued

  11   interest thereon.

  12                                    SECOND CAUSE OF ACTION

  13                                    FAILURE TO PAY OVERTIME

  14        (Violation of Labor Code§§ 510, 1194, and 1198; Violation ofIWC Wage Order § 3)

  15           45.     Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

  16   though fully set forth herein.

  17           46.     Labor Code § 1198 and the applicable IWC Wage Order provide that it is

  18   unlawful to employ persons without compensating them at a rate of pay either one and one-half

  19   (1 Yl) or two (2) times the person' s regular rate of pay, depending on the number of hours

  20   worked by the person on a daily or weekly basis.

  21           47.     Specifically, the applicable IWC Wage Orders provide that Defendants are and

  22   were required to pay overtime compensation to Plaintiff and Class Members at the rate of one

  23   and one-half times (1 Vi) their regular rate of pay when working and for all hours worked in

  24   excess of eight (8) hours in a day or more than forty (40) hours in a workweek and for the first

  25   eight (8) hours of work on the seventh day of work in a workweek.

  26           48.     The applicable IWC Wage Orders further provide that Defendants are and were

  27   required to pay overtime compensation to Plaintiff and Class Members at a rate of two times

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   1    their regular rate of pay when working and for all hours worked in excess of twelve (12) hours in

   2    a day or in excess of eight (8) hours on the seventh day of work in a workweek.

   3           49.     California Labor Code§ 510 codifies the right to overtime compensation at one

   4    and one-half (1 Yi) times the regular hourly rate for hours worked in excess of eight (8) hours in a

    5   day or forty (40) hours in a week and for the first eight (8) hours worked on the seventh

   6    consecutive day of work, and overtime compensation at twice the regular hourly rate for hours

   7    worked in excess of twelve (12) hours in a day or in excess of eight (8) hours in a day on the

    8   seventh day of work in a workweek.

    9          50.     Labor Code§ 510 and the applicable lWC Wage Orders provide that employment

   lO   of more than six days in a workweek is only pennissible if the employer pays proper overtime

   11   compensation as set forth herein.

   12          51.     Plaintiff and Class Members were employees entitled to the protections of

   13   California Labor Code§§ 510 and 1194.

   14           52.    During the relevant time period, Defendants required Plaintiff and Class Members

   15   to work in excess of eight (8) hours in a day, forty (40) hours in a week, and/or on a seventh

   16   consecutive day of work, entitling them to overtime wages.

   17           53.    During the relevant time period, Defendants failed to pay Plaintiff and Class

   18   Members overtime wages for all overtime hours worked when Defendants failed to pay for time

   19   spent working off-the-clock and through meal periods, and time rounded in Defendants' favor,

   20   among other reasons. To the extent these hours qualify for the payment of overtime wages,

   21   Plaintiff and Class Members were not paid proper overtime wages. Further, when Defendants

   22   paid overtime wages, they were sometimes miscalculated because, among other reasons,

   23   Defendants did not include all non-discretionary pay in the calculation.

   24           54.    f n violation of California law, Defendants knowingly and willfully refused to

   25   perform their obligations and compensate Plaintiff and Class Members for all wages earned and

   26   al I hours worked.

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               55.    Defendants' failure to pay Plaintiff and Class Members the unpaid balance of

   2   overtime compensation, as required by Califorrua law, violates the provisions of Labor Code §§

   3   510 and 1198, and is therefore unlawful.

   4          56.     Pursuant to Labor Code § 1194, Plaintiff and Class Members are entitled to

   5   recover their unpaid overtime and double time compensation as well as interest, costs, and

   6   attorneys' fees.

   7                                     THIRD CAUSE OF ACTION

   8                              FAILURE TO PROVIDE MEAL PERIODS

   9           (Violation of Labor Code§§ 226.7 and 512; Violation ofIWC Wage Order § 11)

  lO           57.    Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

  11   though fully set forth herein.

  12           58.    Labor Code § 226.7 provides that no employer shall require an employee to work

  13   during any meal period mandated by the TWC Wage Orders.

  14           59.        Section 11 of the applicable IWC Wage Order states, " [n]o employer shall

  15   employ any person for a work period of more than five (5) hours without a meal period of not

  16   less than 30 minutes, except that when a work period of not more than six (6) hours will

  17   complete the day's work the meal period may be waived by mutual consent of the employer and

  18   the employee."

  19           60.    Labor Code§ 5 l2(a) provides that an employer may not require, cause, or permit

  20   an employee to work for a period of more than five (5) hours per day without providing the

  21   employee with an uninterrupted meal period of not less than thirty (30) minutes, except that if

  22   the total work period per day oftbe employee is not more than six (6) hours, the meal period may

  23   be waived by mutual consent of both the employer and the employee.

  24           61.        Labor Code§ 512(a) also provides that an employer m ay not employ an employee

  25   for a work period of more than ten (10) hours per day without providing the employee with a

  26   second meal period of not less than thirty (30) minutes, except that if the total hours worked is no

  27   more than twelve (12) hours, the second meal period may be waived by mutual consent of the

  28   employer and the employee only if the first meal period was not waived.
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   1          62.      During the relevant time period, Plaintiff and Class Members did not receive

   2   compliant meal periods for working more than five (5) and ten (10) hours per day because their

   3   meal periods were missed, late, short, interrupted, on-duty, and/or they were not permitted to

   4   take a second meal period.

   5          63.      Labor Code§ 226.7(b) and section 11 of the applicable rwc Wage Order require

   6   an employer to pay an employee one ( l) additional hour of pay at the employee's regular rate of

   7   compensation for each work day that a compliant meal period is not provided.

   8          64.      At all relevant times, Defendants failed to pay Plaintiff and Class Members meal
   9   period premiums for missed, late, and/or short meal periods pursuant to Labor Code § 226.7(b)

  10   and section 11 oftheapplicablelWC Wage Order.

  11          65.      As a result of Defendants' failure to pay Plaintiff and Class Members an
  12   additional hour of pay for each day a compliant meal period was not provided, Plaintiff and

  13   Class Members suffered and continue to suffer a loss of wages and compensation.

  14                                    FOURTH CAUSE OF ACTION

  15                                FAILURE TO PERMIT REST BREAKS

  16                 (Violation of Labor Code§§ 226.7; Violation ofJWC Wage Order§ 12)

  17          66.      Plaintiff hereby re-al leges and incorporates by reference all paragraphs above as

  18   though fully set forth herein.

  19          67.      Labor Code§ 226.7(a) provides that no employer shall require an employee to

  20   work during any rest period mandated by the IWC Wage Orders.

  21           68.     Section 12 of the applicable IWC Wage Order states "[e]very employer shall

  22   authorize and permit all employees to take rest periods, which insofar as practicable shall be in

  23   the middle of each work period[,]" and the "[a]uthorized rest period time shall be based on the

  24   total hours worked daily at the rate of ten (10) minutes net rest time per four (4) hours or major

  25   fraction thereof[,]" unless the total daily work time is less than three and one-half (3Y2) hours.

  26           69.     During the relevant time period, Plaintiff and Class Members did not receive a ten

  27   (10) minute rest period for every four (4) hours or major fraction thereof worked, including

  28   working in excess of ten (I 0) hours in a day, because they were required to work through their
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    l   rest periods, were required to remain on-duty during rest periods, and/or were not authorized to

   2    take their rest periods.

   3            70.     Labor Code§ 226.7(b) and section 12 of the applicable IWC Wage Order requires

   4    an employer to pay an employee one (1) additional hour of pay at the employee's regular rate of

   5    compensation for each work day that a compliant rest period is not provided.

   6            71.     At all relevant times, Defendants failed to pay Plaintiff and Class Members rest

   7    period premiums for missed, late, and/or interrupted rest periods pursuant to Labor Code §

    8   226.7(b) and section 12 of the applicable IWC Wage Order.

   9            72.     As a result of Defendants' failure to pay Plaintiff and Class Members an

  10    additional hour of pay for each day a compliant rest period was not provided, Plaintiff and Class

  11    Members suffered and continue to suffer a loss of wages and compensation.

   12                                    FIFIH CAUSE OF ACTION

   13                        FAJLURE TO REIMBURSE BUSINESS EXPENSES

   14                                (Violation of Labor Code§§ 2800, 2802)

   15           73.     Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

   16   though fully set forth herein.

   17           74.     Labor Code § 2800 states that "[a]n employer shall in all cases indemnify his

   18   employee for losses caused by the employer's want of ordinary care."

   19           75.     Labor Code § 2802(a) states that " [a]n employer shall indemnify his or her

  20    employee for all necessary expenditures or losses incUJTed by the employee in direct

   21   consequence of the discharge of his or her duties, or of his or her obedience to the directions of

   22   the employer ...."

   23           76.     Labor Code § 2802(b) states that " [a]U awards made by a court . . . for

   24   reimbursement of necessary expenditures under this section shall carry interest at the same rate

  25    as judgments in civi l actions, Interest shall accrue from the date on which the employee incurred

   26   the necessary expenditure or loss."

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   1          77.     Labor Code § 2802(c) states that "'(f]or purposes of this section, the term

   2   "necessary expenditures or losses" shall include all reasonable costs, including, but not limited

   3   to, attorney' s fees incurred by the employee enforcing the rights granted by this section."

   4          78.     During the relevant time period, Plaintiff and Class Members incurred necessary

   5   business-related costs that were not fully reimbursed by Defendants, including, but not limited to

   6   persona cell phones required for work.
   7           79.    In violation of Labor Code§§ 2800 and 2802, Defendants failed to reimburse or

   8   indemnify Plaintiff and Class Members for their expenses due to Defendants ' knowing and

   9   intentional failure to reimburse necessary business expenditures in connection with Plaintiff's

  10   and Class Members' work and job duties.

  11           80.    As a direct result, Plaintiff and Class Members have suffered and continue to

  12   suffer losses, and therefore seek complete reimbursement and indemnification of necessary

  13   business expenditures or losses, interest thereon at the required rate, and all reasonable costs in

  14   enforcing the rights under Labor Code § 2802, including, but not limited to attorneys' fees.

  15                                     SIXTH CAUSE OF ACTION

  16           FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS

  17                    (Violation of Labor Code § 226; Violation of !WC Wage Order)

  18           81.    Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

  19   though fully set forth herein.

  20           82.     Labor Code § 226(a) requires Defendants to provide each employee with an

  21   accurate wage statement in writing showing nine pieces of information, including, the following:

  22   (1) gross wages earned, (2) total hours worked by the employee, (3) the number of piece-rate

  23   units earned and any applicable piece rate if the employee is paid on a piece-rate basis, (4) all

  24   deductions, provided that all deductions made on written orders of the employee may be

  25   aggregated and shown as one item, (5) net wages earned, (6) the inclusive dates of the period for

  26   which the employee is paid, (7) the name of the employee and the last four digits of his or her

  27   social security number or an employee identification number other than a social security number,

  28   (8) the name and address of the legal entity that is the employer, and (9) all applicable hourly
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   1   rates in effect during the pay period and the corresponding number of hours worked at each

   2   hourly rate by the employee.

   3          83.     During the relevant time period, Defendants have knowingly and intentionally

   4   failed to comply with Labor Code § 226(a) on wage statements that were provided to Plaintiff

   5   and Class Members. The deficiencies include, among other things, the fajlure to correctly state

   6   the gross and net wages earned, total hours worked, a11 applicable hourly rates in effect, and the

   7   number of hours worked at each hourly rate by Plaintiff and Class Members.
   8          84.     As a result of Defendants' knowing and intentional failure to comply with Labor

   9   Code § 226(a), Plaintiff and Class Members have suffered injury and damage to their stanrtorily-

  10   protected rights. Specifically, Plaintiff and Class Members are deemed to suffer an injury

  11   pursuant to Labor Code§ 226(e) where, as here, Defendants intentionally violated Labor Code §

  12   226(a). Plaintiff and Class Members were denied both their legal right to receive, and their

  13   protected interest in receiving, accurate itemized wage statements under Labor Code § 226(a). In

  14   addition, because Defendants failed to provide the accurate rates of pay on wage statements,

  15   Defendants prevented Plaintiff and Class Members from determining if all hours worked were

  16   paid at the appropriate rate and the extent of the underpayment. Plaintiff had to file this lawsuit

  L7   in order to analyze the extent of the underpayment, thereby causing Plaintiff to incur expenses

  18   and lost time. Plaintiff would not have had to engage in these efforts and incur these costs had

  19   Defendants provided the accurate hours worked, wages earned, and rates of pay. This has also

  20   delayed Plaintiff's ability to demand and recover the underpayment of wages from Defendants.

  21          85.     Plaintiff and Class Members are entitled to recover from Defendants the greater of

  22   all actual damages caused by Defendants' failure to comply with Labor Code § 226(a) or fifty

  23   dollars ($50.00) for the initial pay period in which a violation occurred and one hundred dollars

  24   ($100.00) per employee for each violation in subsequent pay periods in an amount not exceeding

  25   four thousand dollars ($4,000.00) per employee. plus attorneys' fees and costs.

  26           86.    D efendants' violations of Caljfornia Labor Code § 226(a) prevented Plaintiff and

  27   Class Members from knowing, understanding, and disputing the wages paid to them and resulted

  28   in an unjustified economfo enrichment to Defendants. As a result of Defendants' knowing and
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       intentional failure to comply with California Labor Code § 226(a), Plaintiff and Class Members

   2   have suffered an injury, in the exact amount of damages and/or penalties to be shown according
   3   to proof at trial.

   4                                    SEVENTH CAUSE OF ACTION

   5                                     FAILURE TO PAY WEEKLY

   6                                    (Violation of Labor Code§§ 201.3)
   7           87.      Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as
   8   though fully set forth herein.

   9           88.      Pursuant to California Labor Code § 201 .3, certain types of employees must be
  10   paid their wages on a weekly basis.

  11           89.      During the relevant time period, Defendants failed to pay the Plaintiff and Class
  12   Members on a timely basis in accordance with Labor Code§ 2013.
  13           90.      Such a pattern, practice and uniform administration of corporate policy regarding

  14   timely payment of wages as described herein is unlawful and creates an entitlement to recovery

  15   by Plaintiff in a civil action, for the unpaid balance of the full amount of damages owed,

  16   including interest thereon, penalties, attorneys' fees, and costs of suit according to the mandate of
  17   California Labor Code §§ 201 .3 and 203.
  18           91.      As a direct and proximate cause of these violations, Class Members have been
  19   damaged, in an amount to be determined at trial.

  20                                     EIGHTH CAUSE OF ACTION

  21      FAILURE TO PAY ALL WAGESDUEUPONSEPARATIONOFEMPLOYMENT

  22                             (Violation of Labor Code§§ 201, 202, and 203)
  23           92.      Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as
  24   though fully set forth herein.
  25           93.      Labor Code§§ 201 and 202 provide that if an employer discharges an employee,
  26   the wages earned and unpaid at the time of discharge are due and payable immediately, and that

  27   if an employee voluntarily leaves his or her employment, his or her wages shall become due and

  28   payable not later than seventy-two (72) hours thereafter, unless the employee has given seventy-
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        two (72) hours previous notice of an intention to quit, in which case the employee is entitled to

   2    his or her wages at the time of quitting.

   3            94.     During the relevant time period, Defendants willfully failed to pay the Waiting

   4    Time Subclass all their earned wages upon tennination, including, but not limited to, proper

   5    minimum wage and overtime compensation, meal period premiums, and rest period premiums

   6    either at the ti.me of discharge or within seventy-two (72) hours of their leaving Defendants)

    7   employ.

    8           95.     Defendants' failure to pay the Waiting Time Subclass a11 their earned wages at the

    9   time of discharge or within seventy-two (72) hours of their leaving Defendants' employ is in

   10   violation of Labor Code§§ 201 and 202.

   11           96.     Labor Code § 203 provides that if an employer willfully fails to pay wages owed

   12   immediately upon discharge or resignation in accordance with Labor Code§§ 201 and 202, then

   13   the wages of the employee shall continue as a penalty from the due date at the same rate until

   14   paid or until an action is commenced; but the wages shall not continue for more than thirty (30)

   15   days.

   16            97.    Pursuant to Labor Code § 203, the Waiting Time Subclass is entitled to recover

   17   from Defendants the statutory penalty, which is defined as the Waiting Time Subclass members'

   18   regular daily wages at their regular hourly rate of pay for each day they were not paid, up to a

   19   maximum ofthirty (30) days.

   20                                     NINTH CAUSE OF ACTION

   21           VIOLATION OF BUSINESS AND PROFESSIONS CODE §§ 17200, ET SEO.

   22                    (Violation of Business and Professions Code§§ l 7200, et seq.)

   23             98.   Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

   24    though fully set forth herein.

   25             99.   California Business and Professions Code §§ l 7200, et seq., prohibits acts of

   26    unfair competition, which includes any "unlawful, unfair or fraudulent busine.s s act or practice . .

   27      "
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   l           I 00.   A violation of California Business and Professions Code §§ 17200, et seq., may

  2    be predicated on a violation of any state or federal law. Tn the instant case, Defendants' policies

  3    and practices violated state law, causing Plaintiff and Class Members to suffer and continue to

  4    suffer injuries-in-fact.

  5            10 l.   Defendants' policies and practices violated state law in at least the following

  6    respects:

  7                    (a)        failing to pay all wages earned (including minimum wage and overtime

  8                               wages) to Plaintiff and Class Members at the proper rate in violation of

  9                               Labor Code§§ 510, 1194, 11942, 1197,and 1198.

  10                   (b)        Failing to provide compliant meal periods without paying Plaintiff and

  11                              Class Members premium wages for every day said meal periods were not

  12                              provided in violation of Labor Code§§ 226.7 and 512.

  13                   (c)        Failing to authorize or permit compliant rest breaks without paying

  14                              Plaintiff and Class Members premium wages for every day said rest

  15                              breaks were not authorized or permitted in violation of Labor Code §

  16                              226.7.

  17                   (d)        Failjng to reimburse Plaintiff and Class Members for necessary business-

  18                              related expenses in violation of Labor Code§§ 2800 and 2802.

  19                   (e)        Fai1ing to provide Plaintiff and Class Members with accurate itemized
  20                              wage statements in violation of Labor Code § 226.

 21                    (t)        Failing to timely pay wages to Plaintiff and Class Members on a weekly

 22                               basis in violation of Labor Code§ 201.3.

  23                   (g)        Failing to timely pay all earned wages to the members of the Waiting

  24                              Time Subclass upon separation of employment in violation of Labor Code

  25                              §§ 201, 202, and 203.

  26           102.    As alleged herein, Defendants systematically engaged in unlawful conduct in

  27    violation of the California Labor Code and IWC Wage Orders, such as failing to pay alJ wages

  28    (minimum and overtime wages), failing to provide meal periods and rest breaks or
                                                          -19-
                                              CLASS ACTlON COMPLAINT
Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 27 of 79 Page ID #:50




   1    compensation in lieu thereof, failing to reimburse necessary business-related costs and

   2    expenses, failing to furnish accurate wage statements, failing to pay wages weekly, and failing

   3    to pay all wages due and owing upon separation of employment in a timely manner to the

   4    Waiting Time Subclass, all in order to decrease their costs of doing business and increase their

   5    profits.

   6           103.       At all relevant times herein, Defendants held themselves out to Plaintiff and Class
   7    Members as being knowledgeable concerning the labor and employment laws of California.

   8           104.       At all times relevant herein., Defendants intentionally avoided paying Plaintiff and
   9    Class Members wages and monies, thereby creating for Defendants an artificially lower cost of

   10   doing business in order to undercut their competitors and establish and/or gain a greater

   11   foothold in the marketplace.
   12          105.       By violating the foregoing statutes and regulations as herein alleged, Defendants'

   13   acts constitute unfair and unlawful business practices under California Business and Professions

   14   Code§§ 17200., et seq.

   15              106.   As a result of the unfair and unlawful business practices of Defendants as alleged

   16   herein, Plaintiff and Class Members are entitled to injllllctive relief, disgorgement, and

   17   restitution in an amount to be shown according to proof at trial.

   18              107.   Plaintiff seeks to enforce important rights affecting the public interest within the

   19   meaning of California Code of Civil Procedure § 1021.5. Defendants~ conduct, as alleged

   20   herein, has been and continues to be unfair, unlawful., and harmful to Plaintiff, Class Members,

   21    and the general public. Based on Defendants' conduct as alleged herein, Plaintiff and Class

   22    Members are entitled to an award of attorneys' fees pursuant to California Code of Civil

   23    Procedure§ 1021.5.

   24                                         PRAYER FOR RELIEF

   25              On Plaintiffs own behalf and on behalf of all others similarly situated, Plaintiff prays

   26   for relief and judgment against Defendants, jointly and severally, as follows:

   27              l.      For certification under California Code of Civil Procedure § 382 of the proposed

   28   Class and any other appropriate subclass;
                                                          -20-
                                               CLASS ACTION COMPLAINT
Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 28 of 79 Page ID #:51




              2.     For appointment of Raymond Murillo as class representative;

   2          3.     For appointment of Aegis Law F irm, PC, as class counsel for all purposes;

   3          4.      For compensatory damages in an amount according to proof at trial;

   4          5.      For an award of damages in the amount of unpaid compensation including, but

   5   not limited to, unpaid wages, unreimbursed expenses, benefits, and penalties;

   6          6.      For economic and/or special damages in an amount according to proof at trial;

   7          7.      For liquidated damages pursuant to Labor Code § I 194.2;

   8          8.     For statutory penalties to the extent permitted by law, including those pursuant to

   9   the Labor Code and TWC Wage Orders;

  10          9.      For injunctive relief as provided by the California Labor Code and California

  11   Business and Professions Code §§ 17200, et seq.;

  12          10.     For restitution as provided by Business and Professions Code §§ 17200, et seq.;

  13          11.     For an order requiring Defendants to restore and disgorge all funds to each

  14   employee acquired by means of any act or practice declared by this Court to be unlawful, unfair,

  15   or fraudulent and, therefore, constituting unfair competition under Business and Professions

  16   Code§§ 17200, et seq.;

  17          12.     For pre-judgment interest;

  18           13.    For reasonable attorneys' fees, costs of suit, and interest to the extent permitted

  19   by law, including, but not limited to, Code of Civil Procedure § 1021.5 and Labor Code §§

 20    226(e) and 1194; and

 21           14.     For such other relief as the Court deems just and proper.

 22
 23    Dated: March 11 , 2021                       AEGIS LAW FIRM, PC

  24
                                                By:~,Z_,~
  25                                             Jessica L. Campbell
  26                                             Attorneys for Plaintiff Raymond Murillo

  27

  28
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                                          CLASS ACTION COIYIPLATN,
Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 29 of 79 Page ID #:52



   1                                 DEMAND FOR JURY TRIAL
   2          Plaintiff hereby demands a jury trial with respect to all issues triable of right by jury.

   3

   4   Dated: March l l, 2021                        AEGIS LAW FIRM, PC
   5

   6                                                 .
                                                By:ft-~~
                                                 Jessica L. Campbell
   7                                                 Attorneys for Plaintiff Raymond Murillo
   8

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                                          CLASS ACTION COMPLAINT
                      Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 30 of 79 Page ID #:53
                                                                                          i
                                                                                          \
                                                                                                                        IIMIML
                    ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar hamper. and address):                                                                                                                                                C         -01 0‘
                     Jesswa L. Campbell, Esq. SBN 280626                                                                                                                                                   FOR COURT USE ONLY
                     AEGIS            LAW
                                    FIRM, P.C.
                     9811 Irvine Center Drive, Suite 100                                                                                                                                                   F   i     L E        D
                     Irvine,     CA 92618                                                                                                                                          SUPERIOR COURT 0F CALIFORNIA
                            TELEPHONE
                                                                                                                                                                                    COUNTY 0F SAN BERNARDINO
                                                   NO.:    949.3 79.6250                                    FAX No:     949.379.6251                                                 SAN BERNARDINO DISTRICT
                    ATTORNEY FOR             (Name):       Plaintiff Raymond Murillo
               SUPERIOR COURT OF CALIFORNIA, COUNTY OF
                                                                                                 San Bemardino                                                                                            MAR 1 2            2021
  WV                      STREET ADDRESS:                  247 West Third
$3                                                                                        Street
     /,-»,                MAILING ADDRESS:

                          cw AND ZIP CODE: San Bernardino,                                    CA 924
FAXE                           BRANcH NAME;                San Bernardmo
                                                                                      .          .

                                                                                          Justxce Center
                                                                                                        1   5
                                                                                                                                                                                  BY                  Cl¢ctrtM
                    CASE NAME:                                                                                                                                                           EDUARDO HERNANDEZ DEPUTY
                    Raymond Murillo v. Brosnan Risk Consultants, Ltd, et a1.
                      CIVIL CASE COVER SH EET                                                                                                                                 c

                                                                 E                                                                                                                                B   '




                           Unlimited
                           (Amount
                                                            Complex Case Designation
                                                                           Limited
                                                                                                        D          Cou nter               D             ,

                                                                                                                                                     Jomder
                                                                                                                                                                               CW 33                                 z   1     a 6 6 4 6
                                                                           (Amount
                           demanded                                                                                                                                           JUDGE,
                                                                           demanded is         Filed with ﬁrst appearance by defendant
                                                                                                                                                                                         ‘




                           exceeds $25,000)                                $25,000 or less)        (Cal. Rules of Court, rule 3.402)      DEPT:
                                                                              Items 1—6 below must be completed (see instructions on page                                         2).
               1.    Check one box below for the case type                                     that best describes this case:
                     Auto Tort                                                                       Contract                                                       Provisionally Complex Civil Litigation
                                Auto (22)                                                                       Breach of contract/warranty (06)                    (Cal.Rules of Court, rules 3.400—3.403)
                                Uninsured motorist (46)                                                         Rule 3.740 collections (09)                                  Antitrust/Trade regulation (03)
                     Other PIIPDIWD (Personal lnjury/Property                                        DDDDD      Other collections (09)                                       Construction defect (10)
                     DamageIWrongful Death) Tort
                                                                                                                Insurance coverage (18)                                      Mass       tort (40)
                                Asbestos (04)                                                                                                                       DDDDDD
                                                                                                                Other contract (37)                                          Securities litigation (28)
                                Product            liability      (24)
                                                                                                     Rea! Property                                                           Environmental/Toxic                   tort (30)


                     D          Medical malpractice (45)

                                Other PIIPDIWD (23)
                     Non-PIIPDIWD (Other) Tort
                                                                                                                Eminent domain/lnverse
                                                                                                                wndemnation
                                                                                                                Wrongful eviction (33)
                                                                                                                                       (14)
                                                                                                                                                                             Insurance coverage claims arising from the
                                                                                                                                                                             above
                                                                                                                                                                             types (41)
                                                                                                                                                                                         listed provisionally            complex case


                                Business              tort/unfair        business practice (O7)                 Other     real property (26)                        Enforcement of Judgment
                               Civil rights (08)                                                     Unlawful Detainer                                                       Enforcement of judgment (20)
                               Defamation                 (1 3)                                                 Commercial (31)                                     Miscellaneous             Civil       Complaint
                     UDDDDDD   Fraud             (1 6)                                                          Residential (32)
                                                                                                                                                                             RICO       (27)
                               Intellectual property (1 9)                                                      Dmgs      (38)
                                                                                                                                                                             Other complaint (not speciﬁed above) (42)
                               Professional negligence (25)                                          Judicial     Review
                                                                                                                                                                    Miscellaneous             Civil Petition
                               Other non—Pl/PDNVD                         tort (35)                             Asset   forfeiture (05)
                     m a ployment
                     D         Wrongful termination (36)
                                                                                                                Petition re: arbitration

                                                                                                                Writ of   mandate
                                                                                                                                                award       (11)
                                                                                                                                                                   D         Partnership and corporate governance (21)

                                                                                                                                                                             Other      petition (not        speciﬁed above) (43)



              2.     This case
                               Other employment (15)

                                                 m E       is                 is   not
                                                                                                     D
                                                                                           complex under          rule
                                                                                                                                        (02)
                                                                                                                Other judicial review (39)

                                                                                                                           3.400 of the California Rules of Court.                                the case
                                                                                                                                                                                             If                 is   complex, mark the
                     factors requiring exceptional judicial                               management:
                     a.                Large number of separately represented parties                                            d.            Large number of witnesses
                     b.               Extensive motion practice raising difﬁcult or novel
                                      issues that will be time—consuming to resolve
                                                                                                                                 e.    D       Coordination with related actions pending in one or more courts


                     c.   m           Substantial                 amount      of   documentary evidence                          f.    D       in other counties, states, or countries, or in a federal

                                                                                                                                               Substantial postjudgment judicial supervision
                                                                                                                                                                                                        court


              3.

             4.
                     Remedies sought (check all thatapply):
                     Number of causes
                                                                                                 am     monetary               hm         nonmonetary; declaratory or injunctive                               relief          C.   Epunitive
                                                                of action (specify):          Nine
             5.

             6.
                     This case
                     If   there are any
                                                           is

                                                         known
                                                                     E        is

                                                                     related cases,
                                                                                   not    a class action
                                                                                          file
                                                                                                                suit.

                                                                                                 and serve a notice of                related case.         (You   may use form              CM-O15.)
                      -lMarch                    ll      202]                             j
             [Jessica L.              Campbell
                                                                (TYPE    OR PRINT NAME)
                                                                                                                          7                                        QWZA
                                                                                                                                                              f(SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                                                               NOTICE
                  o Plaintiff        must          ﬁle this cover sheet with the ﬁrst paper ﬁled                          in   the action or proceeding (except small claims cases or cases ﬁled
                     under the Probate Code, Family Code, or Welfare and                                            Institutions      Code). (Cal. Rules of Court, rule 3.220.) Failure to ﬁle may result
                     in   sanctions.
                  ' File this cover
                                     sheet in addition to any cover sheet required by local court rule.
                  0 If this case is complex
                                              under rule 3.400 et seq. of the California Rules of Court,                                                      you must serve a copy of this cover sheet on                                   all
                 other parties to the action or proceeding.
               0 Unless this is a collections
                                              case under rule 3.740 or a                                           complex case,              this   cover sheet      wm be used for statistical                      purposes onl           .


                                                                                                                                                                                                                                            age    1   of 2
             Form Adopted      for   Mandatory Use
               Judicial Council of California                                                        CIVIL      CASE COVER SHEET                                                  Cal. Rules of Court, rules 2‘30, 3.220, 3.400—3403‘ 3.740;
                                                                                                                                                                                          Cal. Standards of Judiciai Administration, std. 3.10
                  CM-mO [Rev.        July   1,   2007]
                                                                                                                                                                                                                                    www.couﬁinfocagov
Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 31 of 79 Page ID #:54




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         Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 32 of 79 Page ID #:55


                                                         INSTRUCTIONS ON HOW T0 COMPLETE THE COVER SHEET
                                                                                                                        V                                          CM-O1O
   To     Plaintiffs          and Others
                                Filing First Papers. .lf you are ﬁling a ﬁrst paper
                                                                                         (for example, a complaint) in a civil case,
  complete and ﬁle, along with your ﬁrst paper, the Civil Case                                                                        you must
                                                                  Cover Sheet contained on page 1. This information will be used
  statistics about the types and numbers of                                                                                           to compile
                                               cases ﬁled. Yo u must complete items 1 through 6 on the sheet.
                                                                                                                      In item 1, you must check
  one box for the case type that best describes the case. If the case
                                                                           ﬁts both a general and a more speciﬁc
  check the more speciﬁc one. If the case has multiple causes                                                      type of case listed in item 1,
                                                                    of action, check the box that best indicates the
  To assist you in completing the sheet, examples of the cases that                                                    primary cause of action.
                                                                         belong under each case type in item 1 are provided below.
  sheet must be filed only with your initial paper. Failure to                                                                           A cover
                                                               ﬁle a cover sheet with the ﬁr st paper ﬁled in a
                                                                                                                civil case may subject a
  its counsel, or both to sanctions under                                                                                                  party,
                                           rules 2.30 and 3.220 of the California Rules of
                                                                                              Court.
  To Parties in Rule 3.740 Collections Cases. A "collections case"
                                                                         under rule 3.740 is deﬁned as an action for recovery of
  owed in a sum stated to be certain that is not more than $25.00                                                                     money
                                                                  O, exclusive of interest and attorney's fees, arising from
  which property, services, or money was acquired on credit. A                                                               a transaction in
                                                                collections case does not include an action                           seeking the following:
  damages,                     puniﬁve damages,                                                                                                                       (1) tort
                       (2)                                 (3)   recovery of real
                                                             property, (4) recovery of personal property, or
                                                                                                                (5) a prejudgment wn't of
  attachment.               The       identiﬁcation of a
                                       case as a rule 3.740 collections case on this form means that
                                                                                                       it will be exempt from the
  time—for—service requirements and case management                                                                                general
                                                          rutes, unless a defendant ﬁles a responsive pleading.
  case will be subject to the requirements for service and obtaining                                               A rule 3.740 collections
                                                                     a jud  gment in rule 3.740.
  To   Parties in Complex Cases. In complex cases only, parties
                                                                         must also use the Civil Case Cover Sheet to designate whether
  case is complex. If a plaintiff believes the case is comple x                                                                             the
                                                                 under rule 3.400 of the California Rules of Court, this must be
  completing the appropriate boxes in items 1 and 2. If a pl                                                                       indicated by
                                                              aintiff designates a case as complex, the
                                                                                                           cover sheet must be served with the
  complaint on all parties to the action. A defendant
                                                          may ﬁle and serve no later than the time of its ﬁrst appearance a joinder in the
  plaintiff's designation, a counter-designation
                                                 that the case is not complex, or, if the plaintiff has
  the case is complex.
                                                                                                        made no designation, a designation that
                                                                                  CASE TYPES AND EXAMPLES
  Auto Tort                                                            Contract                                         Provisionally Complex Civil Litigation (Cal.
         Auto (22)—Personal Injury/Property                                Breach of Contract/Warranty (06)             Rules of Court Rules 3.400—3.403)
             DamageNVrongful Death                                             Breach of RentaI/Lease                        Antitust/Trade Regulation (03)
         Uninsured Motorist (46) (ifthe                                              Contract (not unlawful detainer         Construction Defect (10)
             case involves an uninsured                                                 or wrongful eviction)                Claims Involving Mass Tort (40)
              motorist claim subject to                                          ContractNVarranty Breach—Seller             Securities Litigation (28)
              arbitraﬁon, check this item                                                        fraud or negligence)
                                                                                     Plaintiff (not                         Environmental/Toxic Ton (30)
              instead ofAuto)                                                    Negligent Breach of Contract!              Insurance Coverage Claims
 Other PIIPDIWD (Personal Injury]                                                  Warranty                                     (arising from provisionally complex
 Property DamagelWrongful Death)                                              Other Breach of ContractNVarranty                 case type listed above) (41)
 Tort                                                                     Collections (e.g., money owed. open            Enforcement of Judgment
         Asbestos (O4)                                                        book accounts) (09)                            Enforcement of Judgment (20)
             Asbestos Property Damage                                         Collection Case—Seller Plaintiff                   Abstract of Judgment (Out of
             Asbestos Personal Injury/                                        Other Promissory Note/Collections                      County)
                  Wrongful Death                                                     Case                                        Confession of Judgment (non-
         Product Liability (not asbestos or                               Insurance Coverage (not provisionally
                                                                                                                                     domestic relations)
            toxic/environmental) (24)                                         complex) ( 1 8)
                                                                                                                                 Sister State     Judgment
         Medial Malpractice (45)                                                Auto Subrogaﬁon
                                                                                                                                Administrative      Agency Award
              Medical Malpractice—                                              Other Coverage
                                                                                                                                    (not unpaid taxes)
                  Physicians & Surgeons                                   Other Centred (37)                                     Petition/Certiﬁcation of Entry of
             Other Professional Health Care                                   Contractual Fraud                                    Judgment on Unpaid Taxes
                       Malpractice                                            Other Contract Dispute                            Other Enforcement of Judgment
       Other PI/PD/WD (23)                                            Real Property                                                  Case
           Premises Liability              (e.g., slip                    Eminent Domain/Inverse                        Miscellaneous     Civil   Complaint
                      and     fall)                                             Condemnation     (14)                       RICO   (27)
             Intentional Bodily           lnjury/PDNVD                    Wrongful Eviction (33)                            Other Complaint (not speciﬁed
                      (e.g., assault,      vandalism)                                                                           above) (42)
                                                                          Other Real Property (e.g., quiettiﬂe) (26)
             Intentional Inﬂiction of                                                                                           Declaratory Relief Only
                                                                              Writ of Possession of Real Property
                  Emotional Distress                                                                                            lnjunctive Relief Only (non—
                                                                              Mortgage Foreclosure
             Negligent lnﬂiction of                                                                                                 harassment)
                                                                              Quiet Title
                  Emotional Distress                                                                                            Mechanics Lien
                                                                              Other Real Property (not eminent
             Other Pl/PD/WD                                                                                                     Other Commercial Complaint
                                                                              domain, Iandlord/tenant, or
Non-PllPD/WD (Other) Tort                                                       foreclosure)                                         Case (non-tort/nomcomplex)
       Business Tort/Unfair Business                                  Unlawful Detainer                                         Other   Civil   Complaint
           Practice (07)                                                  Commercial (31)                                           (non-tort/non-complex)
       Civil Rights (e.g., discrimination,
                                                                         Residential (32)
                                                                                                                        Miscellaneous   Civil Petition
            false arrest) (not civil                                                                                        Partnership and Corporate
                                                                         Drugs (38)    (ifthe case involves illegal
         harassment) (08)                                                                                                       Governance (21)
                                                                                drugs, check this item; otherwise,
     Defamation (e.g., slander,                libel)                                                                       Other Petition (not speciﬁed
                                                                                report as Commercial or Residential)
              (1 3)
                                                                     Judicial   Review                                          above) (43)
     Fraud      (1   6)                                                                                                         Civil Harassment
                                                                         Asset Forfeiture (05)
     Intellectual Property (19)
                                                                         Petition Re: Arbitration Award
                                                                                                                                Workplace Violence
                                                                                                             (1 1)
     Professional Negligence (25)                                                                                               Elder/Dependent Adult
                                                                         Writ of Mandate (02)
         Legal Malpractice
                                                                             Writ—Administrative        Mandamus                    Abuse
          Other Professional Malpractice                                        Writ—Mandamus on                                Election Contest
                                                                                                        Limited Court
              (not medical or legal)
                                                                                   Case Matter                                  Petition for    Name Change
       Other Non-PI/PD/WD Tort (35)                                                                                             Petition for Relief   From Late
                                                                                Writ—Other Limited Court Case
Employment                                                                                                                         Claim
    Wrongful Termination (3B)                                                    Review                                        Other Civil Petition
    Other Employment (1 5)                                               Other Judicial Review (39)
                                                                             Review of Health Ofﬁcer Order
                                                                             Notice of Appeal—Labor
                                                                                Commissioner Appeals
CM—01D   [Rev‘ July   1,   2007]
                                                                         CIVIL     CASE COVER SHEET                                                               Page 2 cf 2
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                     Exhibit “2”
                Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 34 of 79 Page ID #:57
                                                        V         ,
                                                                               @HMNAL                                         V
                                   SUPERIOR COURT OF CALiFORNIA, COUNTY OF SAN BERNARDINO

e"   .511:

               aymond        Murillo
                                                                                        ’
                                                                                                         CASE NO; CIV               SB            2     1    06     5    ll
                                                                                                                                                                              B
F;AXE
                                          vs.                                                            CERTIFICATE 0F ASSIGNMENT
unBrosnan                  Risk Consultants Ltd.


        A civil   action or proceeding presented for ﬁling must be accompanied by this Certiﬁcate.                                                If   the ground        Is   the
            residence of a party, name and residence shall be stated.


        The undersigned declares                    that the above—entitled matter         is filed for proceedings in the
             San Bemardino    Justice Center             District of       the Superior Court under Rule 404 of this court for the
        checked reason:
                      E
                 General                                     D Collection
                            Nature of Action                 Ground
              j       1.   Adoption                         Petitioner resides within the district
              j      2.    Conservator                      Petitioner or conservatee resides within the district.
             D       3.    Contract                         Performance“In the                    district Is    expressly provided        for.
             D       4.    Equity                           The cause of action arose within the district.
             j       5.    Eminent Domain                   The property is located within the district.
             j       6.    Family Law                       Plaintiff, defendant, petitioner or respondent resides within the district.
             j       7.    Guardianship                     Petitioner or  ward resides within the district or has property within the district.
             D       8.    Harassment                       Plaintiff, defendant, petitioner or respondent resides within the district.

             D       9.    Mandate                          The defendant functions wholly within the district.
             :]      10.    Name Change                     The       petitioner resides within the district.
             j       11. Personal Injury                    The       injury   occurred within the               district.

             D       12. Personal Property                  The       property     is       located within the       district.

             D       13. Probate                            Decedent resided or resides within the                            district   or had property within the
                                                            district.

             D       14.    Prohibition                     The defendant functions wholly within the district.
             D       15.    Review                          The defendant functions wholly within the district.
             D       16. Title to      Real Property        The property is located within the district.
             D       17. Transferred Action                 The lower court is located within the district.
             D       18. Unlawful Detainer                  The property is located within the district.
             D       19.    Domestic Violence               The petitioner, defendant, plaintiff or respondent resides                                       within the district.
             E       20_ Other Employment                   The cause     of action arose within the district


             D       21.    THIS FILING         WOULD NORMALLY                   FALL WITHIN JURISDICTION OF SUPERIOR                                           COURT
       The address             of the accident, performance, party, detention, place of business, or other factor which qualifies
       this       case     for filing in the    above-designed        district is:
               Place of business                                                                                             1845 Business Center      Dr.
              NAME — INDICATE    TITLE   0R OTHER QUALIFYING FACTOR                                                          ADDRESS
              San Bernardino                                                                             CA                                       92408
              CITY                                                                                       STATE                                    ZIP   CODE

        I    declare, under penalty of perjury, that the foregoing                           is   true   and correct and       that this declaration             was executed
       on       March 11,2021                                at   Irvine
                                                                                                                                                                    l   California




                                                                                                                  knatwe            of Attorney/Pé'ny




                                                            CERTIFICATE OF ASSIGNMENT
       13—1 6503-360,
       Rev 06-2014 Mandatory
Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 35 of 79 Page ID #:58




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                     Exhibit “3”
Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 37 of 79 Page ID #:60
                                                                           \r                                                   V
                                                                                                                                                                     E D
                                                                                                                                     SUPERIOR COURT OF CALIFORNIA
                                                                                                                                              OF
                                                     .                 .        .                                                      SAN F?.ERNAR            Swrﬁﬁmmo
                                                                                                                                                                ,1    _’    K    J

                                                Superlor Court of California
                                                County of San Bernardino
                                                247 w. Third Street, Dept. 3-26                                                                 APR            1 2 2021
                                                San Bernardino, CA 92415-0210
                                                                                                                                                      «   v      /'
                                                                                                                                                     ‘7

                                                                                                                                By    .....
                                                                                                                                              111’        4v   m.ﬁinmﬂgL.
                                                                                                                                              AL-IE CERVANTES.                  DEPUTY



                         (Dmﬂmo'l§de




                                                                                        SUPERIOR COURT OF CALIFORNIA
                                                              COUNTY OF SAN BERNARDINO, SAN BERNARDINO DISTRICT

                                                 RAYMOND MURILLO                                                      Case    No.2   CIVSBZ106646




                                                             VS.




                                                                                                                      INITIAL CASE MANAGEMENT
                                                 BROSNAN RISK CONSULTANTS                                             CONFERENCE ORDER




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   NNNNNNNNNAAAAAAAAaa




                                                         This case         is       assigned   for   all   purposes   to   Judge David Cohn                    in     the   Complex

                                                Litigation   Program, Department 8-26, located at the San Bernardino Justice Center, 247

                                                West Third         Street,      San Bernardino,            California,   92415-0210. Telephone numbers                               for


                                                Department 8-26 are (909) 521-3519                           (Judicial Assistant)      and (909) 708-8866 (Court

                                                Attendant).
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                                                                          \a                                                          \a


                                                                                     The   Initial    Case Management Conference

                                                         An    initial   Case Management Conference (CMC)                              is    scheduled    for      um    2 3 2112]


                                                at 8:30 a.m.       Due     to the social distancing                  requirements imposed by the COVID-19


                     @QNQUI#0M—\
                                                pandemic, the        initial     CMC       (and   all     subsequent CMCs)            will   be conducted remotely,            via


                                                CourtCall. Contact CourtCaII at (888)                           882-6878 (www.CourtCall.com)                  to   schedule the

                                                appearance through CourtCaIl.                        Until further        order of the Court, in-person attendance at


                                                CMCs     is   not allowed.1


                                                         Counsel         for   all   parties are ordered to attend the                 initial   CMC.    If   there are


                                                defendants       who have            not yet   made        a general or special appearance, those parties                          who

                                                are presently before the court                 may jointly            request a continuance of the             initial   CMC to

                                                allow additional time for such non-appearing defendants to                                    make   their     general or


                                                special appearances.                  Such a request should be made by submitting a                             Stipulation        and

                                                Proposed Order            to the Court, filed directly in                Department S-26, no            later   than five court


                                                days before the scheduled hearing.

                                                                                                  Stay of the Proceedings


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                                                         Pending further order of this Court, and except as otherwise provided                                           in this



                                                Order, these proceedings are stayed                            in   their entirety.   This stay precludes the             filing   of


                                                any answer, demurrer, motion                      to strike, or        motions challenging the          jurisdiction of the


                                                Court.       Each defendant, however,                     is   directed to   file   a Notice of General Appearance                  (or


                                                a Notice of Special Appearance                       if   counsel intends to challenge personal jurisdiction) for

                                                purposes of       identification of          counsel and preparation of a service                    list.    The   filing   of a




                                                         1
                                                              In-person appearances are allowed for motions, but are discouraged. Until the Pandemic
                                                restrictions are lifted,   please use CourtCall whenever possible.
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                                                                         \r                                                      \r


                                             Notice of General Appearance                      is   without prejudice to any substantive or procedural


                                             challenges to the complaint (including subject matter jurisdiction), without prejudice to


                                             any denial or         affirmative defense,              and without prejudice         to the filing of      any cross-

                                             complaint.        The      filing      of a Notice of Special          Appearance      is   without prejudice to any

                     (DQNOIUI#OONA




                                             challenge to the court’s exercise of personal jurisdiction. This stay of the proceedings                                          is



                                             issued to assist the court and the panies                         in   managing     this    case through the

                                             development of an orderly schedule                         for briefing       and hearings on any procedural or

                                             substantive challenges to the complaint and other issues that                                  may    assist   in   the orderly


                                             management            of this case. This stay shall not preclude the parties from informally


                                             exchanging documents and other information that                                 may   assist   them    in their initial



                                             evaluation of the issues.


                                                                                                    Service of this Order

                                                         Plaintiffs’    counsel        is   ordered to serve        this   Order on counsel        for   each defendant,

                                             or,   if   counsel    is   not known, on each defendant within five days of the date of this Order.


                                             If   the complaint has not been served as the date of this Order, counsel for                                   plaintiff is to



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                                             serve the complaint along with this Order within ten days of the date of                                     this Order.


                                                                        Agenda         for the      Initial   Case Management Conference

                                                         Counsel        for   all   parties are ordered to          meet and confer         in   person no   later   than ten


                                             days before the            initial     CMC to discuss the subjects               listed   below. Counsel


                                             must be       fully   prepared to discuss these subjects with the court:

                                                   1.    Any issues           of recusal or disqualification;


                                                   2.    Any   potentially dispositive or important threshold issues of law or fact that,                               if




                                                         considered by the court,               may simplify         or further resolution of the case;
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                                                                           \r                                                       \a

                                                         Appropriate mechanisms for Alternative Dispute Resolution;

                                                         A plan for the           preservation of evidence and a uniform system for the identification


                                                         of    documents          to   be used throughout the course of this                 litigation,   including


                                                         discovery and             trial;

                         OmﬂOM¥QNA




                                                         A discovery          plan for the disclosure and production of documents and other


                                                         discovery, including whether the court should order automatic disclosures,


                                                         patterned on Federal Rule of                      Civil   Procedure 26(a) or otherwise;

                                                         Whether       it   is    advisable to conduct discovery              in    phases so     that information


                                                         needed       to    conduct meaningful              ADR     is   obtained early    in   the case;


                                                         Any issues          involving the protection of evidence                   and   confidentiality;


                                                    8.   The use and              selection of an electronic service provider;


                                                    9.   The handling             of   any   potential publicity issues;


                                                    10.Any other issues counsel deem appropriate                              to    address with the       court.


                                                                                                             The Joint Report

                                                         Counsel are ordered                 to   prepare a Joint Report for the            initial   CMC,   to   be   filed



                                                               Department 8-26                           the Clerk’s office), no later than four court days
                         mﬂwmth—‘Ommﬂmmhwk’do




   MNNNNNNNNAAAAAAAAAA
                                                directly in                                  (not   in



                                                before the conference date.                   The    Joint Report        must include the       following:


                                                    1.   Whether the case should or should not be treated as complex;

                                                    2.   Whether        additional parties are likely to                 be added and a proposed date by which

                                                         all   parties      must be served;

                                                         A service         list   (the service      list   should identify    all   primary and secondary counsel,

                                                         firm   names, addresses, telephone numbers, email addresses, and fax numbers

                                                         for   all   counsel.)
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                                                                           \a                                                      \y


                                                     .   Whether the court should issue an order                          requiring electronic service.              Counsel

                                                         should advise the court regarding any preferred web-based electronic service

                                                         provider;


                             ONNOUI#OON-A
                                                     .   Whether any issues              of jurisdiction or         venue      exist that might affect this court’s


                                                         ability to       proceed with     this     case.


                                                     .   Whether there are applicable                   arbitration      agreements, and the              parties’   views on

                                                         their enforceability;


                                                     .   A   list   of   all   related litigation pending          in this   or other courts (state and federal), a


                                                         brief description of          any such        litigation,     including the       name    of the judge assigned


                                                         to the case,           and a statement whether any                  additional related litigation           is



                                                         anticipated;


                                                     .   A description           of the major factual            and   legal issues in the case.           The   parties


                                                         should address any contracts, statutes, or regulations on which claims or

                                                         defenses are based, or which                   will     require interpretation       in   adjudicating the claims


                                                         and defenses;

   NNNlonnloNNAAA—x—xAAAAA
                             mﬂwmAwN-ﬁoomﬂmmth—io
                                                     .   The    parties’ tentative        views on an            ADR mechanism             and how such mechanism

                                                         might be integrated            into   the course of the             litigation;


                                                    10.A discovery              plan, including the time           need   to    conduct discovery and whether

                                                         discovery should be conducted                      in   phases or      limited (and,      if   so, the order of


                                                         phasing or types of            limitations).       With respect to the discovery of electronically

                                                         stored information (ESI               ),   the plan should include:


                                                              a.     Identification of the Information                 Management Systems used by the                     parties;
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                                                                       \y                                                   \a

                                                            b.    The   location   and custodians of information that              is likely   to    be subject       to


                                                                  production (including the identification of network and email servers and

                                                                  hard-drives maintained by custodians);


                                                            c.    The types     of ESI that   will   be requested and produced,               e.g.    data   files,
                         OQNOUIhOJNA




                                                                  emails, etc.;


                                                            d.    The format     in   which ESI   will   be produced;

                                                            e.    Appropriate search        criteria for    focused requests.

                                                            f.    A statement whether the            parties     wi||   allow their respective IT consultants


                                                                  or   employees      to participate directly in the         meet and confer process.

                                                   11.    Whether the        parties will stipulate that discovery stays or other stays entered by


                                                         the court for case      management purposes                will   be excluded   in   determining the


                                                         statutory period for bringing the           case   to   trial   under Code of   Civil      Procedure

                                                         Section 583.310 (the Five Year Rule).

                                                   12.   Recommended           dates and times for the following:

                                                            a.    The next CMC;
                         QN@thNJO¢DmNGm#wN-‘O




  NNNNNNNNN—LAAAAAAAAA
                                                            b.    A schedule for any contemplated ADR;

                                                            c.    A filing   deadline (and proposed briefing schedule) for any anticipated

                                                                  non-discovery motions.

                                                            d.    With respect to class actions, the parties’ tentative views on an

                                                                  appropriate deadline for a class certification motion to be                       filed.


                                                         To the   extent the parties are unable to agree on any matter to be addressed                                 in



                                                the Joint Report, the positions of each party or of various parties should be set forth


                                                separately.      The   parties are    encouraged       to propose, either jointly or separately,                any
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                                                     approaches         to    case management              that they believe will       promote the      fair   and   efficient


                                                     handling of this case.


                                                                Any   stipulations to continue conferences or other hearings throughout this


                                                     litigation   must be       filed with   the court directly        in   Department 8-26 (not           in   the Clerk's

                         {Dmﬂdial-FUNA




                                                     office),   no    later   than four court days before the conference or hearing date.

                                                                                             Informal Discovery Conferences

                                                                Motions concerning discovery cannot be                      filed   without   first    requesting an informal


                                                     discovery conference (IDC) with the court. Making a request for an IDC automatically


                                                     stays the deadline for ﬁling any such motion. IDCs are conducted remotely, via the


                                                     BIueJeans Video Conferencing program. Attendees                                will   need   to   download the

                                                     BIueJeans program (available from the app stores                           for   IOS or Android)       to   a computer,

                                                     laptop, tablet, or        smartphone.       If       the device being used does not have camera


                                                     capability, the         BIueJeans application            offers   an audio-only Option. Video appearance                     at


                                                     the IDC, however,           is   encouraged. The Court             wi||   provide a     link to join   the conference at


                                                     the appointed time. Please provide Department S-26’s Judicial Assistant ((909) 521-
                         “Naimth—IO‘DQNO)UI#OON—\O




   NNNNNNNNNAAAAAAAAAA
                                                     3519) or Court Attendant ((909) 708-8866) with an e—mail address. No briefing                                       is



                                                     required for the IDC, but counsel should lodge (not                        file)   the relevant discovery record             in



                                                     Department 8-26 before the IDC.




                                                     Dated:           6%;                             ,
                                                                                                          2021.


                                                                                                                               M
                                                                                                                             David Cohn,
                                                                                                                             Judge
                                                                                                                                                   &\
                                                                                                                                        of the Superior Court
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                    Exhibit “4”
           Case 5:21-cv-01232-GW-KK
         Attoine}? or
                Fmty without
                                    Document 1-1 Filed 07/23/21 Page 45 of 79 Page ID #:68
                                            Attorney:
                                                                                                                                                      For Court Use Only
         SamuelA.Wong(#217104)                                                                                            ~




         Aegis Law Firm
                     '                  '              '
         9811 lrvme Center Drive Surte 100
            .
                                              ,
                                                                                                                                                            F   l   L    E
         Irvme,     CA 9261 8                                                                                                                 SUPERwR COURT OF CALIFORNIA
            Telephone NO:
                                                                                                                                                COUNTY 0F SAN BERNARDINO
                                 949 379_6250                                                                                                     SAN BERNARUINU DISTRICT
                Attorney‘con     P'aintiff
                                                                                        geggNo. orFi/e No.:
                                                                                                                                                            APR 2 3          2021

              name of Court, andjudicial District and Branch Court:
         Insert

         Superior Court of California, County of San Bernardino

           Plaintijj?     Raymond      Murillo, individualy           and on behalf of all others        similarly situated
     Defendant:           Brosnan      Risk Consulta nts, LTD.

                    P ROO F      OF   S E RVIC E                      Hearing Date:             77m e:        Dept/Div:                   Case Number:

                           SUMMONS                                                                                                        CIVSB2106646


1    .     At the time ofservice Iwas at least 18years of age and not a party                            to this action.


2.          lserved copies 0fthe Summons; Class Action Complaint;                            Civil   Case Cover Sheet; Certiﬁcate of Assignment;                     Initial Trial   Setting
            Conference Statement

3.          a.     Party served:            Brosnan Risk Consulta nts, LTD
           b.      Person served:           Trisha Rosano,      AGENT FOR SERVICE SOLUTIONS,                      INC.,       Registered Agent

4.         Address where the party was served:                        1220   S. Street, Suite   150, Sacra mento,              CA 95811
5.         lserved the party:
           a.    by personal service.              I   personally delivered the documents listed             in   item 2 to the party or person authorized to receive
                                                   service of process for the party (1) on (date): Mon,
           (1)

           (2)
                    E
                    E
                             (business)

                             (home)
                                                                                                                          Apr 19 2021      (2) at (time):   02:28   PM


           (3)      E        (other):



6.         The "Notice         to the Person Served" (on the
           a.      E
                   E        as an individual defendant.
                            as the person sued under the fictitious
                                                                           summons) was completed             as follows:

           b.

           c.

           d.
                   E
                   m        as occupant.
                            On behalf of (speciy): Brosnan Risk Consultants, LTD
                                                                                 name   of (speciM:




                            under the following Code of Civil Procedure section:
                           m
                           E
                                      41 6.1 0 (corporation)
                                                                                                          D         41 5.95 (business organization, form unknown)


                           E
                                      41 6.20 (defunct corporation)

                                      41 6.30 (joint stock company/association)
                                                                                                          D
                                                                                                          D
                                                                                                                    41 6.60 (minor)



                           D
                           E
                                      41 6.40 (association or partnership)
                                                                                                          D
                                                                                                                    41 6.70 (wa rd or conservatee)

                                                                                                                    41 6.90 (authorized person)


                           E
                                      41 6.50 (public entity)

                                      other:
                                                                                                          D         41 5.46 (occupant)




                         judicial Council         Form POS—O10                            PROOF OF                                                                                  5587747
                         Rule 2.150‘(a)&(b) RevJanuary           1,   2007                 SERVICE                                                                             (11648654)
FIRSMBAL                                                                                 5U M MQNS                                                                             Page   1   of 2
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                                                               mc
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                                                               So
                                                                    w
                                                                    oo
                                                                     c
                                                                    a
       Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 47 of 79 Page ID #:70


     Attoéhey or Party without Attomey:
                                                        AIL                                                            x
                                                                                                                                  For Court Use Only
     Samuel          A.   Wong (#21 71 04)
     Aegis      Law Firm
     9811       Irvine     Center Drive, Suite 100
     Irvine,        CA 9261 8
           Telephone No:        949 379-6250
           Attorney For:        piaintiff                                       gigNo. Or Flle No.1


     Insert name of Court, andjudicia/ District and Branch
                                                           Court:
     Superior Court of Ca lifomia, County of San Be rnardino

       Plaintiﬁf          Raymond Murillo, individualy and on behalf of           all   othe rs similarly situated
     Defendant:           Brosnan Risk Consultants, LTD.

                    PROO F OF SERVICE                            Hearing Date            ﬁme:         Dept/Div:       Case Number:

                           SUMMONS                                                                                    CIVSB2106646




                                                                                           Recoverable cost Per CCP 1033.5(a)(4)(B)
7.         Person      who served         papers
           a.       Name:                            jacobbi Williams
           b.   Address:                             FIRST LEGAL
                                                     600 W. Santa Ana Blvd,       Ste. 101
                                                     SANTA ANA, CA 92701
       c.       Telephone number:                    (714) 541—1 110
       d.       The fee for       service was:       $1 23.05
       e.        am:
                          E
                |




                (1)               not a registered California process server.

                (2)

                (3)
                          E
                          m
                                  exempt from       registration under Business

                                  a registered California process server:
                                                                                        and Professions Code section 22350(b).


                                  (i)


                                  (ii)
                                          D    owner     D
                                          Registration No:
                                                                  employee
                                                                   1314
                                                                                E   independent contractor


                                  (iii)   County:    Alameda




8.     I   declare under penalty ofperjury under the laws of the State
                                                                       of California that theforegoing is true                   and correct.




                                                                                                04/22/2021
                                                                                                                               MM
                                                                                                  (Date)                         jacobbi Williams




                      Judicial Council      Form POS-O‘IO                         PROOF OF                                                               5587747
                          Rule 2.150.(a)&(b) Revjanuary     1,   2007             SERVICE                                                              (11648654)
FIRSTLEGAL
                                                                                 SUMMONS                                                               Page 2 of 2
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                     Exhibit “5”
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      AEGIS LAW FIRM, PC
      SAMUEL A. WONG,            State   Bar No. 2 1 7104
      KASHIF HAQUE, State Bar No. 218672                                                 F   l   L   E
      JESSICA L. CAMPBELL, State Bar N0. 280626                              SUPERIOR COURT 0F CALIF
                                                                              COUNTY 0F SAN BERNAREgsglA
      9811 Irvine Center Drive, Suite 100                                      SAN BERNARDINO DISTRICT
      Irvine, California 92618
      Telephone: (949) 379-6250                                                          JUN 16          2021
      Facsimile: (949) 379-6251
      Email: icampbell@ae2islawﬁrm.com
                                                                           BY.
                                                                                    DEBRA PEDROSA. DEPUTY
      Attorneys for Plaintiff Raymond Murillo, individually,
      and on behalf of all others similarly situated.


      Matthew C. Sgnilek, Esq. (State Bar No. 235299)
      msggilek@ohaganmeyer.com
      Andrea Rosenkranz, Esq. (State Bar No. 301559)
 10   arosenkranzﬁlohaganmever.com
      O’HAGAN MEYER
 11   4695 MacArthur Court, Suite 210
      Newport Beach, CA 92660
 12   Telephone:        (949) 942—8500
      Facsimile:        (949)942-8510
 13
      Attorneys for Defendant,
 14   BROSNAN RISK CONSULTANTS, LTD
 15
                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
 16

 17

 18

 19

 20

 21

 22
      behalf of all others similarly situated,




              V.
                        Plaintiffs,




      BROSNAN RISK CONSULTANTS, LTD; and
                                                            W
                                      FOR THE COUNTY OF SAN BERNARDINO

      RAYMOND MURILLO, individually and on                  Case No. CIVSB2106646




                                                            JOINT INITIAL STATUS CONFERENCE
                                                            STATEMENT
                                                            [Assignedfor All Purposes
                                                            Cohn, Dept. S26]
                                                                                                 t0 the   Hon. David

      DOES    1   through 20, inclusive,
 23                                                         Date: June 23, 2021
                        Defendants.                         Time: 8:30 a.m.
 24                                                         Dept: $26

 25
                                                            Complaint     Filed:   March   12,    2021

 26
                                                            Trial Date:   None     Set


 27

 28



                            THE PARTIES’ JOINT INITIAL STATUS CONFERENCE STATEMENT
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                              \y                                                        \y

              Plaintiff   Raymond       Murillo (“Plaintiff”) and Defendant Brosnan Risk Consultants,                  LTD
       (“Defendant”) by and through their counsel of record, submit the following Joint Case

       Management‘ Conference Statement                  in   advance of the       Initial   Case Management Conference

       scheduled for June 23, 2021,       at   8:30   am.       in   Department S-26.

              Counsel for    the-   Parties   met and conferred          to discuss the issues set forth in California Rules


       of Court, Rule 3.750, as well as those raised                  in the Court’s Initial   Case Management Conference

       Order, and hereby report as follows:

              1.      PROCEDURAL STATUS
              Plaintiff   ﬁled his putative class action complaint on March 12, 2021.

  10          Pursuant to the Court’s          Initial    Case Management Conference Order, Defendant has not

  11   ﬁled a responsive pleading, but will ﬁle           its   Notice of Appearance by June 23, 2021.

  12          2.      WHETHER CASE SHOULD 0R SHOULD NOT BE TREATED AS
  13                  COMPLEX:
  14          This case should be treated as complex.

  15          3.      POTENTIAL ADDITIONAL PARTIES:
  16          There are no other parties intended to be added to                 this action at this time.


  17          4.      PARTIES AND COUNSEL:
  18                  Plaintiff:     RAYMOND MURILLO
  19                  Plaintiff” s   Counsel:

 20                   AEGIS         LAW FIRM, PC
                     Kashif Haque, khaque@aegislawﬁrm.com;
 21                  Samuel A. Wong, swong@aegislawﬁrm.com;
                     Jessica L. Campbell, jcampbell@aegislawﬁrm.com;
 22                  9811 Irvine Center Drive, Suite 100
                     Irvine, CA 92618
 23                  Telephone: (949) 379-6250
                     Facsimile: (949) 379-6251
 24
       //
 25

 26    //


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       //
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                                                                         2
                            THE PARTIES’ JOINT INITIAL STATUS CONFERENCE STATEMENT
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                                        \v                                               \y

                               Defendant:          BROSNAN RISK CONSULTANTS, LTD
                               Defendant’s Counsel:
                           '


                                o’HAGAN MEYER
                               Matthew C. Sgnilek
                               Andrea Rosenkranz
                               4695 MacArthur Court, Suite 210
                               Newport Beach, CA 92660
                               Telephone: 949.942.8500
                               Facsimile: 949.942.85 10
                               MS ggilek@ohaganmeyer.com
                               arosenkranzgafohaganmeyercom


                5.             ELECTRONIC SERVICE 0F PAPERS:
  10
                The    Parties are agreeable to email service in this case.

  11
                6.             JURISDICTION               OR VENUE ISSUES:
  12
                Defendant contends Plaintiff is bound by an arbitration agreement containing a class action

  13
       waiver. Plaintiff” s counsel has requested a copy of the agreement.

  14
                7.             POTENTIALLY RELEVANT ARBITRATION AND/OR CLASS ACTION
  15
       WAIVER CLAUSES:
  16
                Defendant contends Plaintiff is bound by an arbitration agreement containing a class action

  17
       waiver. Plaintiff” s counsel has requested a copy of the agreement.

  18
                8.             OTHER ACTIONS WITH OVERLAPPING CLASS DEFINITIONS:
 19
                Marcel          McGee     v.       Brosnan Risk West Coast, San Mateo Superior Court, Case No. 19—CV-
 20
       04464,    is   pending settlement approval for a class action settlement covering the period                            until

 21                                           “McGee
       December       5,       2020    (the               matter”).    The Motion   for Preliminary   Approval       in the   McGee
 22
       matter   is   scheduled to be heard on August              3,   2021 by the Honorable Marie
                                                                           ,                          S.   Weiner.

 23
                Basheera Lewis                v.   Brosnan Risk Consultants, LTD, San Bernardino Superior Court, Case
 24    No. CIVSB2104130, was ﬁled on January 29, 2021 (the “Lewis matter”). In                             light   of the settlement
 25
       in the   McGee          matter, the Parties in the Lewis matter have agreed, in principal, to the dismissal of

 26    Plaintiff” s class claims.

 27    //


 28



                                                                           3
                                      THE PARTIES’ JOINT INITIAL STATUS CONFERENCE STATEMENT
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                                    V                                                     \r

               9.          FACTUAL AND LEGAL ISSUES IN THE CASE:
               Plaintiff” s Position:

                       '

                           1.       Whether      Plaintiﬁ‘   and putative class members were paid               all    minimum and

                                    overtime wages.

                           2.       Whether      Plaintiff   and putative     class     members were provided lawful meal

                                    periods, or received compensation in lieu thereof.

                           3‘       Whether      Plaintiff   and putative     class     members were provided             lawful rest

                                    breaks, or received compensation in lieu thereof

                           4.       Whether Defendant issued accurate itemized wage statements                            to Plaintiff


  10                                and putative class members.

  11                       5.       Whether      Plaintiff   and putative      class     members were reimbursed              for   all


  12                                necessary business expenses.

  13                       6.       Whether Defendant          failed to timely         pay the Waiting Time Subclass               all


  14                                wages due upon termination or within seventy-two                  (72) hours of resignation.

  15                       7.       Whether Defendant’s conduct was             willful or reckless.


  16                       8.       Whether Defendant engaged               in unfair business practices in Violation               of

  17                                Business and Professions       Code §§ 17200,          et seq.


  18           Defendant’s Position: Defendant contends                  Plaintiff” s   claims are without merit. The lack of

  19   merit will be supported            by company personnel,      payroll,      and time keeping records, Defendant’s

 20    policies and practices, as well as witness testimony.                 Further, Defendant contends that the claims

 21    resolved in the     McGee         matter are identical to the claims brought in the instant matter meaning the

 22    claims will be barred by res judicata. Plaintiff‘s anticipated                       PAGA        claim   is    similarly   moot

 23    pursuant t0 Robinson         v.   Southern Counties Oil C0. (2020) 53 Cal.App.5th 476.

 24            With respect        to class celtiﬁcation,    Defendant further contends that Plaintiff cannot establish

       that he is   an adequate class representative and/or an adequate aggrieved representative employee

 26    for Plaintiff’s anticipated cause         of action for Civil Penalties pursuant          to   PAGA. Defendant         alleges

 27    that Plaintiff will      be unable to act   in the best interests    of the putative    class.


 28            A fatal ﬂaw in Plaintiff’s case is that there are no common issues 0f fact or law.                          Plaintiff’s




                                                                     4
                                 THE PARTIES’ JOINT INITIAL STATUS CONFERENCE STATEMENT
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       allegations, or the putative class claims, if certiﬁed,           would require   the Court to conduct dozens of

       mini-trials to determine liability.             Speciﬁcally, the evidence will demonstrate that Defendant

       complied With      its   legal obligations under California       wage and hour laws and        that   any variance     ﬁom
       the standard policies and practices were based on individual decision                   by employees or limited           to

       unique circumstances.

                 Furthermore, Plaintiff will be unable to establish that his alleged claims, which are

       factually unfounded, will be typical of any of the alleged claims applicable to the putative

       class.      For example, employees receive their meal periods and rest breaks and are paid

       overtime.       Plaintiff will thus    be unable to establish that a class action          is   superior to any other

  10   method of adjudicating          claims.

  11             10.      ALTERNATIVE DISPUTE RESOLUTION:
  12             Plaintiff’s Position:


  13             The parties     are amenable to private mediation.

  14             Defendant’s Position:

  15             While Defendant       is   amenable to private mediation, there are preliminary procedural issues

  16   that   need to be resolved prior      to a mediation.


  17             11.      DISCOVERY:
  18             Plaintiff s Position:


  19             Plaintiff requests the      Court    lift   the stay on discovery in   its   entirety. Plaintiff intends        on

 20    serving written discovery to support a motion for class certiﬁcation. This includes standard                            wage

 21    and hour written discovery           related to Plaintiﬁ‘    and for putative class member time records, pay

 22    records, contact information, and the written policies provided to                them during          their   employment.

 23    Plaintiff    additionally     intends     on conducting the         deposition    of Defendant’s               person   most

 24    knowledgeable and other relevant Witnesses. Plaintiff believes the estimated timeline for                          this will


 25    be better understood       after the initial   round of written discovery.

 26              Defendant’s Position:

 27              Defendant contends that discovery should remain stayed pending a ruling on the Motion to

 28    Compel      Arbitration and    deem the   PAGA claim moot and/or barred by resjudz'cara.

                                                                     5
                                THE PARTIES’ JOINT INITIAL STATUS CONFERENCE STATEMENT
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                Defendant contends          that the Parties should         conduct bifurcated. discovery, with the ﬁrst

      phase addressing issues related to              Plaintiff’s anticipated    Motion     for Class Certiﬁcation       and the

      second addre‘ssing the merits of             Plaintiff’s claims as to    any ceniﬁed      class.    Defendant intends      to


      propound written discovery on                Plaintiff including Interrogatories,      Requests for Admission, and

      Requests for Production.          Defendant will also seek to take              Plaintiff’s deposition.       Prior to any

      formal discovery, Defendant requests the Parties enter in a protective order

                To the    extent Plaintiff seeks the identity of potential class         members, Defendant contends the

      subject class      members must be provided with an            opt-out notice.      Belaz're— West     Landscape    v.   Sup.

      Ct.   (Rodriguez) 2007 149 Cal.App.4th 554, 561. Defendant agrees to split the cost of the Belaire-

 10   West Notice process with        Plaintiff.


 11             12.        STIPULATION FOR STAYS:
 12             The     Parties agree to stipulate that discovery stays or other stays entered                 by   the court for

 13   case   management purposes            Will   be excluded   in determining the statutory period for bringing the


 14   case to   trial   under Code of Civil Procedure Section 583.310 (the Five Year Rule).

 15             13.        TIMELINE FOR CASE MANAGEMENT:
 16             The     Parties request a   Case Management Conference be scheduled                in    9O days.

 17

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 22
      Dated: June 16, 2021




      Dated: June 16, 2021
                                                              By:
                                                                    AEGIS


                                                                     g”         Z
                                                                         essica L.
                                                                                          M
                                                                               LAW FIRM, PC


                                                                                     Campbell
                                                                    Attorneys for Plaintiff


                                                                    09HAGAN MEYER
 23

 24
                                                              By:         MN
                                                                         Matfhew Ugnilek
                                                                         Andrea Rosenkranz
 26                                                                 Attorneys for Defendant

 27

 28



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                               THE PARTIES’ JOINT INITIAL STATUS CONFERENCE STATEMENT
 Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 55 of 79 Page ID #:78




                                                            PROOF OF SERVICE
                                          Murillo v. Brosnan Risk Consultants, LTD.
                             '

                                 San Berndino County Superior Court Case No.: CIVSB2106646
                                                O’Hagan Meyer File No.: 15455

                         I   am over the age of eighteen                                                    1am employed
                                                                  years and not a party to the within action.
 ﬂmM-h       by   O’HAGAN MEYER,                Whose business address      is   4695 MacArthur Court, Suite 210, Newport
             Beach, California 92660.


                  On June         16,   2021,    I   served the within document(s)        described as:   JOINT INITIAL
 00
         CONFERENCE STATEMENT on the parties in said action as follows:

                                                                 SERVICE LIST
10         AEGIS    LAW FIRM, PC                                        Attorneysfor Plaintiﬂ"

11
           SAMUEL A. WONG
           KASHIF HAQUE
12         JESSICA L. CAMPBELL
           9811 Irvine Center Drive, Suite 100
13         Irvine, California     92618
           Facsimile: (949) 379-6251
14

15         Email: jcampbell@aegislawfum.com
           swong@aegislawﬁrm.com
16         khaguegQaegislawﬁnncom

17
                  E     BY ELECTRONIC SERVICE Based on a court order (Emergency Rule                            12 of
         Appendix I, Emergency Rules Related t0 COVID-J9) to accept service by electronic transmission, I
18
         caused the documents to be sent to the persons at the electronic notiﬁcation addresses listed above
19       on this date, by emailing a copy.

20
                  E      (STATE)         I   declare under penalty of perjury under the laws of the State of California
         that the foregoing is true      and    correct.




                                                                  WW
21
                  Executed on June 16, 2021,           at   Huntington Beach, California.
22

23
                                                                  Virginia Tomlinson
24

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                                                               PROOF OF SERVICE
Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 56 of 79 Page ID #:79




                     Exhibit “6”
 Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 57 of 79 Page ID #:80


                 Or




                      Matthew C. Sgnilek, Esq. (State Bar No. 235299)                                                  LE     D
                      msgnilek@ohaganmeyer.com                                                         SUPER‘ORFCAURL gégakgg‘ﬁgm
  N                   Andrea Rosenkranz, Esq. (State Bar No. 301559)                                    COUNTY OF/ﬁnmo msmcw
                      arosenlqaanDohaganmeversom
                      O’HAGAN MEYER
                      4695 MacArthur Court, Suite 210
                      Newport Beach, CA 92660
                      Telephone:   (949) 942-8500
                      Facsimile:       (949) 942-85 10                                             BY
                                                                                                         ”TERRA Penman, nanny
 \DOOQOUI-h-U)




                      Attorneys for Defendant,
                      BROSNAN RISK CONSULTANTS, LTD

                                             SUPERIOR COURT OF THE STATE 0F CALIFORNIA
                                 FOR THE COUNTY OF SAN BERNARDINO — SAN BERNARDINO DISTRICT
10
                      RAYMOND MURILLO, individually and on                        Case No.: CIVSB2 1 06646
11                    behalf of all others similarly situated,
                                                                                  CLASS ACTION
'12
                                              Plaintiffs,
                                                                                  NOTICE OF APPEARANCE
13
                              VS.
                                                                                  [Assignedfor All Purposes       t0 the    Hon. David
14
                                                                                  Cohn, Dept. 826]

15                    BROSNAN RISK CONSULTANTS, LTD; and                          Complaint Filed: March         12,   2021
                      DOES   1   through 20, inclusive,
16                                                                                Trial Date:   None     Set

                                              Defendants.
17

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19
                             T0 THE HONORABLE COURT, ALL PARTIES AND THEIR ATTORNEYS OF

20
                      RECORD:

21
                             PLEASE TAKE NOTICE of the appearance                of Defendant   BROSNAN RISK CONSULTANTS,

22
                      LTD hereby made through its attorneys of record whose contact infommtion is:
                                                   Matthew     C. Sgnilek, Esq. (State Bar No. 235299)
23
                                                             msgnilek@ohaganmever.com
                                                    Andrea Rosenkranz, Esq. (State Bar No. 301559)
24
                                                           arosenkranz@ohaganmever.com
                                                                   O’HAGAN MEYER
25
                                                             4695 MacArthur Court, Suite 210
                                                                Newport Beach, CA 92660
26
                                                              Telephone:    (949) 942-8500
                                                              Facsimile:    (949) 942-8510
27

28
                             The above    listed attorneys   should be added to the service     list   in this matter so they will receive


                                                                             l

                                                                 NOTICE OF APPEARANCE
   Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 58 of 79 Page ID #:81




               notices of docket related activities in this matter.




               DATED;    June 16; 2021                       O’HAGAN MEYER



 OOOQONM-bWN
                                                       By:        W
                                                             Matthew Wilek, Esq.
                                                             Andrea Rosenkranz, Esq.

                                                             Attomeys for Defendant,
                                                             BROSNAN RISK CONSULTANTS, LTD


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                                                        NOTICE 0F APPEARANCE
   Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 59 of 79 Page ID #:82




                                                                         PROOF OF SERVICE
  N
                                                            Brosnan Risk Consultants, LTD. -
                                                         Murillo    v.

                                         San Berndino County Superior Court Case No.: CIVSB2106646
                                                        O’Hagan Meyer File No.: 15455

                           I   am    over the age of eighteen years and not a party to the within action.              I    am employed by
                 O’HAGAN MEYER,                  whose business address          is   4695 MacArthur Court, Suite 210, Newport Beach,
 \DOO\IO\U!-bw




                 California 92660.


                           On June         16,    2021,     I   served     the    within    document(s)   described   as:    NOTICE OF
                 APPEARANCE on the patties in said action as follows:

                                                                            SERVICE LIST
10
                     AEGIS     LAW FIRM, PC                                            Attorneysfor Plaintiff
11
                     SAMUEL A. WONG
12                   KASHIF HAQUE
                     JESSICA L. CAMPBELL
13                   9811 Irvine Center Drive, Suite 100
                     Irvine, California     92618
14
                     Facsimile: (949) 379-6251

15
                 ‘
                     Email: jcamgbellQaegislawﬁlmcom
16
                           E          BY ELECTRONIC SERVICE Based on a coun order (Emergency Rule 12 of
17               Appendix      I,   Emergency Rules Related Io C0 VID-I 9) to accept service by electronic transmission, I
                 caused the documents to be sent to the persons                  at the electronic notiﬁcation addresses listed   above
18
                 on   this date,    by emailing a copy.
19                         E           (STATE)     I   declare under penalty of peljury under the laws of the State of California
                 that the foregoing is true        and   correct.

20
                          Executed on June 16, 2021,            at   Huntington Beach, California.
21
                                                                                             r


22                                                                                                 v
                                                                            Virginia Tomlinson
23

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                                                                           PROOF OF SERVICE
Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 60 of 79 Page ID #:83




                    Exhibit “7”
Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 61 of 79 Page ID #:84




                                       SUPERIOR COURT OF CALIFORNIA,
                                         COUNTY OF SAN BERNARDINO
                                            San Bernardino District
                                                247 West 3rd St
                                           San Bernardino, CA 92415
                                               www.sb-court.org


                                       PORTAL MINUTE ORDER
 Case Number: CIVSB2106646                                                                             Date: 6/23/2021

 Case Title: **Complex-Class Action** Muillo
              -v-
             Brosnan Risk Consultants, LTD et al

                                                                                                   Complex Case
 Department S26 - SBJC                            Date: 6/23/2021           Time: 9:00 AM
                                                                                                   Management Conference

 Judicial Officer: David Cohn
 Judicial Assistant: Jessica Morales
 Court Reporter: Regina Vega
 Court Attendant: Alfie Cervantes

 Appearances
 Attorney Jessica Campbell appears by CourtCall for Plaintiff Raymond Muillo
 Attorney Matthew Sgnilek appears by CourtCall for Defendant Brosnan Risk Consultants, LTD

 Proceedings
 Discussion is held between the Court and counsel regarding the Joint Case Management Statement received.

 Counsel are to meet and confer regarding arbitration agreements.

 The stay on the pleadings and discovery is lifted. Discovery is phased. Discovery directed to class certification
 issues will be conducted in Phase One. Discovery directed to the merits will be conducted in Phase Two, which will
 commence only after the court rules on class certification. In circumstances where a particular discovery request
 addresses both certification issues and merits, the discovery is permissible in Phase One. Phase Two is limited to
 discovery exclusively directed to merits.

 The Court requires in Informal Discovery Conference (IDC) before any discovery-related motion is filed. IDCs are
 conducted by remote video conference. Counsel should telephone the department to request an IDC. The Court will
 send a link via email for counsel to connect to the IDC. Requesting an IDC stays the deadline on filing a discovery
 related motion.

 Plaintiffs counsel informs the Court a 2nd PAGA compliant will be filed and related to this matter. Notice of related
 case to be filed with new complaint.

 Counsel are directed to have meaningful discussions and submit and file a joint status report regarding
 recommendations for a deadline for Class Certification and status of related cases. Joint status report statement to be
 submitted no less than 10 days in advance of the next hearing date. Joint report to be filed directly in the department.

 Hearings
 Further Case Management Conference set for 12/22/2021 at 9:00 AM in Department S26 - SBJC

 Notice to be given by Plaintiffs Counsel
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                    Exhibit “8”
     Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 63 of 79 Page ID #:86




 1    Matthew C. Sgnilek, Esq., SBN 235299
      msgnilek@ohaganmeyer.com
 2    Andrea Rosenkranz, Esq. SBN 301559
      arosenkranz@ohaganmeyer.com
 3    O’HAGAN MEYER LLP
      4695 MacArthur Court, Suite 210
 4    Newport Beach, CA 92660
      Telephone: (949) 942-8500
 5    Facsimile: (949) 942-8510

 6    Attorney for Defendant,
      BROSNAN RISK CONSULTANTS, LTD
 7
                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8
               FOR THE COUNTY OF SAN BERNARDINO – SAN BERNARDINO DISTRICT
 9
10
      RAYMOND MURILLO, individually and on                   Case No.: CIVSB2106646
11
      behalf of all others similarly situated,
                                                             CLASS ACTION
12
                              Plaintiff,                     DEFENDANT BROSNAN RISK
13                                                           CONSULTANTS, LTD’S ANSWER TO
              v.                                             PLAINTIFF RAYMOND MURILLO’S
14                                                           COMPLAINT
15                                                           [Assigned for All Purposes to the Hon.
      BROSNAN RISK CONSULTANTS, LTD;
16    DOES 1 through 20, inclusive,                          David Cohn; Dept. S26]

17                            Defendants.                    Complaint Filed: March 12, 2021
                                                             Trial Date: None Set
18
19
20
              COMES NOW Defendant BROSNAN RISK CONSULTANTS, LTD (Defendant) and hereby
21
      answers the Complaint (“Complaint”) of Plaintiff RAYMOND MURILLO (“Plaintiff”) as follows:
22
                                                  GENERAL DENIAL
23
              Pursuant to Code of Civil Procedure Section 431.30, Defendant generally and specifically denies
24
      each and every allegation stated against it in the Complaint and the whole thereof and further denies that
25
      Plaintiff is entitled to the relief sought in the Complaint or to any relief at all.
26
      //
27
      //
28
                                                 1
           DEFENDANT BROSNAN RISK CONSULTANTS, LTD’S ANSWER TO PLAINTIFF RAYMOND MURILLO’S
                                            COMPLAINT
     Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 64 of 79 Page ID #:87




 1              As for Affirmative Defenses, Defendant alleges as follows:
 2                                           AFFIRMATIVE DEFENSES
 3                                        FIRST AFFIRMATIVE DEFENSE
 4                                        (Failure to State a Cause of Action)
 5              The Complaint, and each and every claim alleged therein, fails to state a cause of action upon
 6    which relief may be granted.
 7                                      SECOND AFFIRMATIVE DEFENSE
 8                                                       (Laches)
 9              Defendant is informed and believes, and based thereon alleges, that the Complaint, or portions
10    thereof, is barred by the doctrine of laches.
11                                       THIRD AFFIRMATIVE DEFENSE
12                                                    (Unclean Hands)
13              Defendant is informed and believes, and based thereon alleges, that to the extent Plaintiff and the
14    alleged members of the putative classes seek equitable relief, Plaintiff’s and the alleged members of the
15    putative class’ inequitable conduct constitutes unclean hands and bars the granting of such equitable
16    relief.
17                                      FOURTH AFFIRMATIVE DEFENSE
18                                                       (Waiver)
19              By their conduct, Plaintiff and the alleged members of the putative class have waived any rights
20    to recover any relief sought in the Complaint, or in any purported cause of action alleged therein.
21                                       FIFTH AFFIRMATIVE DEFENSE
22                                                  (Equitable Estoppel)
23              Defendant is informed and believes, and based thereon alleges, that each and every cause of action
24    in the Complaint is barred by reason of acts, omissions, representations and courses of conduct by
25    Plaintiff and the alleged members of the putative classes by which Defendant was led to rely to its
26    detriment, thereby barring, under the doctrine of equitable estoppel, any causes of action asserted by
27    Plaintiff and the alleged putative classes.
28    //
                                                 2
           DEFENDANT BROSNAN RISK CONSULTANTS, LTD’S ANSWER TO PLAINTIFF RAYMOND MURILLO’S
                                            COMPLAINT
     Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 65 of 79 Page ID #:88




 1                                      SIXTH AFFIRMATIVE DEFENSE
 2                                                (Apportionment)
 3           Defendant is informed and believes, and based thereon alleges, that the matters complained of in
 4    the Complaint were proximately caused, in whole or in part, by the acts or omissions of a third party or
 5    parties or Plaintiff and/or the alleged putative class. Accordingly, the liability of Defendant and any other
 6    responsible parties, named or unnamed, should be apportioned according to their respective degrees of
 7    fault or other legal responsibility, and the liability, if any, of Defendant should be reduced accordingly.
 8                                    SEVENTH AFFIRMATIVE DEFENSE
 9                                             (Statute of Limitations)
10           Defendant is informed and believes, and based thereon alleges, that the Complaint, or portions
11    thereof, is barred by the applicable statutes of limitations, including but not limited to those set forth in
12    California Code of Civil Procedure Sections 338, 340, and 343.
13                                     EIGHTH AFFIRMATIVE DEFENSE
14                                    (Res Judicata and Collateral Estoppel)
15           Defendant is informed and believes, and based thereon alleges, that Plaintiff’s and the alleged
16    putative class’ claims are barred under the doctrines of collateral estoppel and res judicata.
17                                      NINTH AFFIRMATIVE DEFENSE
18                                                  (No Damages)
19           Defendant is informed and believes, and based thereon alleges, that Plaintiff and the alleged
20    putative class did not suffer damages as a result of Defendant’s alleged conduct and are therefore not
21    entitled to damages.
22                                     TENTH AFFIRMATIVE DEFENSE
23                            (Conduct Reasonable and In Good Faith/Not Willful)
24           Defendant contends that, if Defendant is found to have failed to pay Plaintiff and the alleged
25    members of the putative class as defined in the Complaint, any amount due, allegations which Defendant
26    denies, Defendant acted at all times on the basis of good faith and reasonable belief that it had complied
27    fully with California wage and hour laws and was in conformity with and in reliance on an administrative
28    regulation, order, ruling, approval, interpretation, administrative practice, and/or enforcement policy of
                                                3
          DEFENDANT BROSNAN RISK CONSULTANTS, LTD’S ANSWER TO PLAINTIFF RAYMOND MURILLO’S
                                           COMPLAINT
     Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 66 of 79 Page ID #:89




 1    the California’s Industrial Welfare Commission, California’s Labor Code, the United States Department
 2    of Labor, and/or other governmental agencies.
 3                                    ELEVENTH AFFIRMATIVE DEFENSE
 4                                               (De Minimis Hours)
 5           Defendant is informed and believes, and based thereon alleges, that Plaintiff’s and the alleged
 6    members of the putative class’ claims alleging failure to pay compensation for all hours worked are barred
 7    because, to the extent Plaintiff and the alleged members of the putative class worked any time for which
 8    they were not paid, such time was de minimis as a matter of law.
 9                                    TWELFTH AFFIRMATIVE DEFENSE
10                                                   (Arbitration)
11           Plaintiff’s claims are barred, in whole or in part, to the extent Plaintiff and/or the alleged putative
12    class and Defendant executed arbitration agreements that encompass the claims alleged in the Complaint,
13    and Defendant expressly reserves the right to move to compel arbitration pursuant to the parties’ written
14    agreement.
15                                 THIRTEENTH AFFIRMATIVE DEFENSE
16                                                    (Release)
17           To the extent Plaintiff and the alleged members of the putative class have executed releases
18    encompassing claims alleged in the Complaint, their claims are barred by that release.
19                                FOURTEENTH AFFIRMATIVE DEFENSE
20                                                   (Bad Faith)
21           Defendant is informed and believes, and based thereon alleges, that the Complaint, and each
22    purported cause of action set forth therein, have always been, and continue to be, frivolous, unreasonable,
23    in bad faith, and groundless.
24                                    FIFTEENTH AFFIRMATIVE DEFENSE
25                    (Failure To Utilize Protective Procedures/Avoidable Consequences)
26            Defendant is informed and believes, and based thereon alleges, that Plaintiff and the alleged
27    members of the putative class unreasonably failed to take advantage of any preventive or corrective
28    opportunities provided to avoid harm or otherwise. Defendant is informed and believes, and based
                                                4
          DEFENDANT BROSNAN RISK CONSULTANTS, LTD’S ANSWER TO PLAINTIFF RAYMOND MURILLO’S
                                           COMPLAINT
     Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 67 of 79 Page ID #:90




 1    thereon alleges, that Plaintiff and the alleged members of the putative class did not complain, orally or in
 2    writing, about Defendant’s alleged failure to pay all wages, failure to provide meal and/or rest periods,
 3    failure to provide accurate wage statements, failure to pay wages timely during employment and/or upon
 4    termination, failure to reimburse business expenses, and/or engagement in any unlawful business
 5    practices.
 6                                  SIXTEENTH AFFIRMATIVE DEFENSE
 7                                                   (Causation)
 8           Defendant is informed and believes, and based thereon alleges, that each cause of action set forth
 9    in the Complaint and the recovery of damages, if any, are barred either in whole or in part, because the
10    actions of Defendant did not cause any harm or damages to Plaintiff and the alleged members of the
11    putative class.
12                                SEVENTEENTH AFFIRMATIVE DEFENSE
13                                            (No Alter Ego Liability)
14           Plaintiff’s Complaint, and each and every cause of action therein, fails because Defendant was
15    and is not the alter ego of any other defendant.
16                                 EIGHTEENTH AFFIRMATIVE DEFENSE
17                                              (Uncertain Damages)
18           Defendant is informed and believes, and based thereon alleges, that Plaintiff’s and the alleged
19    members of the putative class’ claims are barred, in whole or in part, because the damages sought are
20    uncertain, ambiguous, unintelligible, and/or non-existent.
21                                 NINETEENTH AFFIRMATIVE DEFENSE
22                                                    (Payment)
23           Defendant alleges Plaintiff and the alleged members of the putative class have been paid all wages
24    due and owed.
25                                 TWENTIETH AFFIRMATIVE DEFENSE
26                                             (Unauthorized Work)
27           Defendant is informed and believes, and based thereon alleges, that to the extent Plaintiff and the
28    alleged members of the putative class did work any time, including overtime and double time, for which
                                                5
          DEFENDANT BROSNAN RISK CONSULTANTS, LTD’S ANSWER TO PLAINTIFF RAYMOND MURILLO’S
                                           COMPLAINT
     Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 68 of 79 Page ID #:91




 1    they were not paid, such work was unauthorized and/or performed without Defendant’s knowledge.
 2                               TWENTY-FIRST AFFIRMATIVE DEFENSE
 3                                       (All Overtime Time Work Paid)
 4           Defendant is informed and believes, and based thereon alleges, that to the extent Plaintiff and the
 5    alleged members of the putative class did work any overtime, such work was paid in accordance with
 6    any and all applicable regulations, statutes, and Wage Orders.
 7                              TWENTY-SECOND AFFIRMATIVE DEFENSE
 8                                      (Failure to Record Hours Worked)
 9           Any recovery on Plaintiff’s Complaint with respect to the allegations for failure to pay wages for
10    all time worked, including overtime and double time, is barred to the extent Plaintiff and the alleged
11    members of the putative class failed to record all time worked as reasonably expected and required by
12    Defendant.
13                               TWENTY-THIRD AFFIRMATIVE DEFENSE
14                                       (All Breaks Provided or Waived)
15           Defendant is informed and believes, and based thereon alleges, that all meal and/or rest periods
16    were provided, permitted and/or voluntarily waived by Plaintiff and the alleged members of the putative
17    class consistent with any and all applicable regulations, statutes, and Wage Orders.
18                              TWENTY-FOURTH AFFIRMATIVE DEFENSE
19                                  (Failure to Take or Record Meal Periods)
20           Plaintiff’s Complaint, and each purported cause of action alleged therein, is barred, in whole or
21    in part, to the extent Plaintiff and the alleged members of the putative class failed to take and/or record
22    meal periods, as reasonably expected and provided by Defendant.
23                               TWENTY-FIFTH AFFIRMATIVE DEFENSE
24                                   (Failure to Take or Record Rest Periods)
25           Plaintiff’s Complaint, and each purported cause of action alleged therein, are barred, in whole or
26    in part, to the extent Plaintiff and the alleged members of the putative class failed to take and/or record
27    rest periods, as reasonably expected and provided by Defendant.
28    //
                                                 6
           DEFENDANT BROSNAN RISK CONSULTANTS, LTD’S ANSWER TO PLAINTIFF RAYMOND MURILLO’S
                                            COMPLAINT
     Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 69 of 79 Page ID #:92




 1                              TWENTY-SIXTH AFFIRMATIVE DEFENSE
 2                             (Meal and Rest Period Premiums Are Not Wages)
 3           Defendant is informed and believes, and based thereon alleges, that any meal period and rest
 4    period premiums are not wages. Naranjo et al. v. Spectrum Security Services, Inc. (2019) 40 Cal.App.5th
 5    444; Kirby v. Imoos Fire Protection, Inc. (2012) 53 Cal.4th 1244.
 6                            TWENTY-SEVENTH AFFIRMATIVE DEFENSE
 7                                    (Business Expense Reimbursements)
 8           Defendant is informed and believes, and based thereon alleges, that Plaintiff and the alleged
 9    members of the putative classes did not incur any business expenses and/or were at all times reimbursed
10    for any business expenses incurred.
11                             TWENTY-EIGHTH AFFIRMATIVE DEFENSE
12                                          (Accurate Wage Statements)
13            Defendant is informed and believes, and based thereon alleges, that Plaintiff and the alleged
14    members of the putative class were at all times provided with accurate wage statements in compliance
15    with any and all applicable regulations, statutes, and Wage Orders.
16                              TWENTY-NINTH AFFIRMATIVE DEFENSE
17                                                  (No Injury)
18           Plaintiff’s claim for penalties under Labor Code Sections 226 and/or 226.3 is barred, in whole or
19    in part, because Defendant’s alleged conduct was not knowing and intentional, and because Plaintiff and
20    the alleged members of the putative class did not suffer injury as a result of Defendant’s alleged
21    noncompliance with Section 226 and/or 226.3.
22                                 THIRTIETH AFFIRMATIVE DEFENSE
23                            (Wage Statements Accurately Reflected Wages Paid)
24           Plaintiff’s claim for penalties under Labor Code Sections 226 and/or 226.3 is barred because the
25    wage statements received by Plaintiff and the alleged members of the putative class were accurate in that
26    they reflected the wages paid to Plaintiff and the alleged members of the putative class. Maldonado v.
27    Epsilon Plastics, Inc. (2018) 22 Cal.App.5th 1308.
28    //
                                                 7
           DEFENDANT BROSNAN RISK CONSULTANTS, LTD’S ANSWER TO PLAINTIFF RAYMOND MURILLO’S
                                            COMPLAINT
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 1                                THIRTY-FIRST AFFIRMATIVE DEFENSE
 2                          (No Derivative Penalties Under Labor Code Section 226)
 3           Plaintiff’s claim for penalties under Labor Code Sections 226 and/or 226.3 is barred to the extent
 4    it is based on Defendant’s alleged failure to provide meal and/or rest periods. Naranjo, et al. v. Spectrum
 5    Security Services, Inc. (2019) 40 Cal.App.5th 444.
 6                              THIRTY-SECOND AFFIRMATIVE DEFENSE
 7                                             (Records Maintained)
 8           Defendant is informed and believes, and based thereon alleges, that at all times it maintained
 9    accurate payroll records for Plaintiff and the alleged members of the putative class.
10                               THIRTY-THIRD AFFIRMATIVE DEFENSE
11                                            (All Wages Timely Paid)
12           Defendant is informed and believes, and based thereon alleges, that Plaintiff and the alleged
13    members of the putative class were paid all wages due to them on a timely basis.
14                              THIRTY-FOURTH AFFIRMATIVE DEFENSE
15                                  (All Wages Timely Paid Upon Separation)
16           Defendant is informed and believes, and based thereon alleges, that Plaintiff and the alleged
17    members of the putative class were paid all wages due to them, at the time of separation, whether
18    voluntary or involuntary, on a timely basis.
19                                THIRTY-FIFTH AFFIRMATIVE DEFENSE
20                                         (No Waiting Time Penalties)
21           Defendant is informed and believes, and based thereon alleges, that Plaintiff’s claim for waiting
22    time penalties pursuant to Labor Code Section 203 is barred because Defendant did not willfully withhold
23    wages over which there was no good faith dispute and in fact acted at all times with the good faith belief
24    that Plaintiff and the alleged members of the putative class were compensated as required by law.
25                                THIRTY-SIXTH AFFIRMATIVE DEFENSE
26                          (No Derivative Penalties Under Labor Code Section 203)
27            Plaintiff’s claim for penalties under Labor Code Section 203 is barred to the extent it is based on
28    Defendant’s alleged failure to provide meal and/or rest periods. Naranjo, et al. v. Spectrum Security
                                                8
          DEFENDANT BROSNAN RISK CONSULTANTS, LTD’S ANSWER TO PLAINTIFF RAYMOND MURILLO’S
                                           COMPLAINT
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 1    Services, Inc. (2019) 40 Cal.App.5th 444.
 2                             THIRTY-SEVENTH AFFIRMATIVE DEFENSE
 3                                              (Good Faith Dispute)
 4           Defendant is informed and believes, and based thereon alleges, that Plaintiff’s claim for waiting
 5    time penalties should be denied because a good faith dispute exists as to whether any wages are due to
 6    Plaintiff and the alleged members of the putative class.
 7                              THIRTY-EIGHTH AFFIRMATIVE DEFENSE
 8                   (No Violation of Business and Professions Code Section 17200, et seq.)
 9           Defendant is informed and believes, and based thereon alleges, its business actions or practices
10    were not unfair, unlawful, fraudulent or deceptive within the meaning of Business and Professions Code
11    Section 17200, et seq.
12                               THIRTY-NINTH AFFIRMATIVE DEFENSE
13                                             (No Injunctive Relief)
14           Plaintiff is not entitled to any equitable or injunctive relief as prayed for in the Complaint because
15    Plaintiff and the alleged members of the putative class have suffered no irreparable injury based on any
16    alleged conduct of Defendant. Plaintiff and the alleged members of the putative class have an adequate
17    remedy at law for any such conduct, and Plaintiff and some alleged members of the putative class are
18    former employees who lack standing to seek injunctive relief.
19                                  FORTIETH AFFIRMATIVE DEFENSE
20                                         (No Availability of Damages)
21           Pursuant to the Business and Professions Code Section 17200, et seq., Plaintiff and the alleged
22    members of the putative class are not entitled to an award of damages.
23                                FORTY-FIRST AFFIRMATIVE DEFENSE
24                                             (No Double Recovery)
25           Plaintiff and the alleged members of the putative class are not entitled to duplicative recovery
26    under the purported causes of action alleged in the Complaint.
27    //
28    //
                                                 9
           DEFENDANT BROSNAN RISK CONSULTANTS, LTD’S ANSWER TO PLAINTIFF RAYMOND MURILLO’S
                                            COMPLAINT
     Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 72 of 79 Page ID #:95




 1                                FORTY-SECOND AFFIRMATIVE DEFENSE
 2                                                (No Attorney’s Fees)
 3             Plaintiff and the alleged members of the putative class are not entitled to recover attorneys’ fees
 4    for their claims, including but not limited to his Third and Fourth Causes of Action, pursuant to the
 5    California Supreme Court’s decision in Kirby v. Immoos Fire Protection, Inc. (2012) 53 Cal.4th 1244.
 6                                  FORTY-THIRD AFFIRMATIVE DEFENSE
 7                                                      (Interest)
 8             Plaintiff’s Complaint fails to state a claim upon which any interest may be awarded, as the
 9    damages claimed are not sufficiently certain to allow an award of interest.
10                                FORTY-FOURTH AFFIRMATIVE DEFENSE
11                                              (No Class Certification)
12             Plaintiff has not and cannot satisfy the requirements for certification of a class pursuant
13    to California Code of Civil Procedure Section 382 and/or Federal Rule of Civil Procedure 23.
14                                  FORTY-FIFTH AFFIRMATIVE DEFENSE
15                                     (Not an Adequate Class Representative)
16             Plaintiff's Complaint as a whole, and each purported cause of action alleged therein, is not
17    appropriate for class certification because Plaintiff is not able to fairly and adequately represent and
18    protect the interests of all members of the class as a whole, and/or any subclasses within the class as a
19    whole.
20                                  FORTY-SIXTH AFFIRMATIVE DEFENSE
21                                                (Conflict of Interest)
22             Plaintiff's Complaint as a whole, and each purported cause of action alleged therein, is not
23    appropriate for class certification because the interests of Plaintiff are in conflict with the interests of all
24    or certain of the alleged members of the putative class whom Plaintiff seeks to represent.
25                               FORTY-SEVENTH AFFIRMATIVE DEFENSE
26                                               (Fact Intensive Issues)
27             Plaintiff’s Complaint as a whole, and each purported cause of action alleged therein, is not
28    appropriate for class certification because the liability issues raised by the Complaint require a detailed,
                                               10
          DEFENDANT BROSNAN RISK CONSULTANTS, LTD’S ANSWER TO PLAINTIFF RAYMOND MURILLO’S
                                           COMPLAINT
     Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 73 of 79 Page ID #:96




 1    fact-specific and individualized inquiry that must be decided employee by employee, for each and every
 2    day and/or workweek.
 3                                 FORTY-EIGHTH AFFIRMATIVE DEFENSE
 4                                         (Individual Issues Predominate)
 5            Plaintiff's Complaint as a whole, and each purported cause of action alleged therein, is not
 6    appropriate for class certification because the facts and law common to the case are insignificant
 7    compared to the individual facts and issues particular to Plaintiff and the alleged members of the putative
 8    class predominate.
 9                                  FORTY-NINTH AFFIRMATIVE DEFENSE
10                                                   (Not Numerous)
11            Plaintiff’s Complaint as a whole, and each purported cause of action alleged therein, is not
12    appropriate for class certification because the class as a whole, and/or any subclasses within the class as
13    a whole, are not sufficiently numerous.
14                                     FIFTIETH AFFIRMATIVE DEFENSE
15                                                    (Not Typical)
16            Plaintiff’s Complaint as a whole, and each purported cause of action alleged therein, is not
17    appropriate for class certification because the claims of Plaintiff are not typical of the claims of the alleged
18    members of the putative class, and therefore, Plaintiff is not an adequate representative of the alleged
19    putative class members.
20                                   FIFTY-FIRST AFFIRMATIVE DEFENSE
21                                                 (Lack of Standing)
22            Plaintiff’s Complaint as a whole, and each purported cause of action alleged therein, is not
23    appropriate for class certification because Plaintiff fails to satisfy the prerequisites for class certification,
24    and as such, Plaintiff lacks standing and cannot represent the interests of others as to each of the purported
25    causes of action.
26                                 FIFTY-SECOND AFFIRMATIVE DEFENSE
27                                                    (Not Superior)
28            Plaintiff's Complaint as a whole, and each purported cause of action alleged therein, is not
                                               11
          DEFENDANT BROSNAN RISK CONSULTANTS, LTD’S ANSWER TO PLAINTIFF RAYMOND MURILLO’S
                                           COMPLAINT
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 1    appropriate for class certification because a far speedier administrative remedy before the California State
 2    Labor Commissioner is available to Plaintiff and each alleged member of the putative class, and thus
 3    class treatment is not the superior method for resolving the claims set forth in the Complaint.
 4                                 FIFTY-THIRD AFFIRMATIVE DEFENSE
 5                                            (Class Action – Unconstitutional)
 6           Certification of a class and/or allowing the action to proceed with Plaintiff as a representative
 7    would constitute a denial of Defendant’s substantive and procedural due process rights in violation of the
 8    Fourteenth Amendment to the United States Constitution and the California Constitution and/or a denial
 9    of Defendant’s equal protection.
10                                FIFTY-FOURTH AFFIRMATIVE DEFENSE
11                       (Affirmative Defenses Apply to All Putative Class Members)
12           Defendant opposes class certification and disputes the propriety of class treatment. If the Court
13    certifies a class in this case over Defendant’s objections, then Defendant asserts the affirmative defenses
14    set forth herein against each and every member of the certified class.
15                                  FIFTY-FIFTH AFFIRMATIVE DEFENSE
16                         (Right to Assert Additional Unknown Affirmative Defenses)
17           Plaintiff’s Complaint contains insufficient information to permit Defendant to raise all
18    appropriate defenses, and Defendant therefore reserves its right to amend and/or supplement this Answer
19    to assert additional affirmative defenses against Plaintiff.
20    //
21    //
22    //
23    //
24    //
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           DEFENDANT BROSNAN RISK CONSULTANTS, LTD’S ANSWER TO PLAINTIFF RAYMOND MURILLO’S
                                            COMPLAINT
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 1                                        PRAYER FOR RELIEF
 2          WHEREFORE, Defendant prays for judgment as follows:
 3          1.    That Plaintiff’s Complaint be dismissed in its entirety;
 4          2.    That Plaintiff takes nothing by reason thereof;
 5          3.    That judgment be entered in favor of Defendant;
 6          4.    That Defendant be awarded their attorneys’ fees and costs incurred in connection with this
 7                action, if allowable by law or contract; and,
 8          5.    For such other and further relief as the Court may deem just and proper.
 9
10    DATED: July 23, 2021                    O’HAGAN MEYER
11
12                                       By: ___________________________________________
                                              Matthew C. Sgnilek, Esq.
13                                            Andrea Rosenkranz, Esq.
14
                                               Attorney for Defendant,
15                                             BROSNAN RISK CONSULTANTS, LTD

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         DEFENDANT BROSNAN RISK CONSULTANTS, LTD’S ANSWER TO PLAINTIFF RAYMOND MURILLO’S
                                          COMPLAINT
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 1
                                                  PROOF OF SERVICE
 2
 3                         Raymond Murillo, et al. v. Brosnan Risk Consultants, Ltd.
                           San Bernardino Superior Court Case No. CIVSB2106646
 4
             I am over the age of eighteen years and not a party to the within action. I am employed by
 5    O’HAGAN MEYER, whose business address is 1601 Pacific Coast Highway, Suite 290, Hermosa
      Beach, CA 90254.
 6
 7           On July 23, 2021, I served the within document(s) described as:

 8          DEFENDANT BROSNAN RISK CONSULTANTS, LTD’S ANSWER TO PLAINTIFF
                           RAYMOND MURILLO’S COMPLAINT
 9
      On the parties in said action as follows:
10
11                                                   See Service List

12
                     [BY ELECTRONIC SERVICE] – Pursuant to CCP § 1010.6 I caused such
13                   document(s) to be electronically transmitted to the email addresses of the parties listed
14                   on the Service List pursuant to agreement with counsel for the parties to receive
                     service by e-mail.
15
                     [BY MAIL SERVICE] – Pursuant to CCP § 1013 I caused the documents described
16                   above to be deposited for processing in the mailroom in our office. I am “readily
                     familiar” with the firm’s practices of collection and processing correspondence for
17
                     mailing. It is deposited with the U. S. Postal Service on that same day with postage
18                   thereon fully prepaid at Hermosa Beach, California, in the ordinary course of business.

19                   [BY OVERNIGHT SERVICE] – Pursuant to CCP § 1013 I enclosed the documents
                     in an envelope or package provided by an overnight delivery carrier and addressed to
20                   the persons at the addresses listed above. I placed the envelope or package for
21                   collection and overnight delivery at an office or a regularly utilized drop box of the
                     overnight delivery carrier.
22
                     [BY PERSONAL SERVICE] – Pursuant to CCP § 1011 - I caused such
23                   document(s) to be hand delivered to the addressee(s) so indicated.
24
               I declare under penalty of perjury under the laws of the State of California that the foregoing
25    is true and correct.

26           Executed on July 23, 2021, at Hermosa Beach, California.
27
28                                                   _____________________________
                                                             Liana Bickford
                                                          1
                                                    PROOF OF SERVICE
     Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 77 of 79 Page ID #:100




 1                                                SERVICE LIST
 2                         Raymond Murillo, et al. v. Brosnan Risk Consultants, Ltd.
 3                         San Bernardino Superior Court Case No. CIVSB2106646

 4
 5       Attorneys for Plaintiff Raymond Murillo,        SAMUEL A. WONG
          individually, and on behalf of all others      KASHIF HAQUE
 6                   similarly situated                  JESSICA L. CAMPBELL
                                                         AEGIS LAW FIRM, PC
 7                                                       9811 Irvine Center Drive, Suite 100
 8                                                       Irvine, California 92618
                                                         Email: swong@aegislawfirm.com
 9                                                       Email: khaque@aegislawfirm.com
                                                         Email: jcampbell@aegislawfirm.com
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                                                  PROOF OF SERVICE
Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 78 of 79 Page ID #:101




  1                              CERTIFICATE OF SERVICE

  2               Raymond Murillo, et al. v. Brosnan Risk Consultants, Ltd.
  3               San Bernardino Superior Court Case No. CIVSB2106646

  4         I am over the age of eighteen years and not a party to the within action. I
  5   am employed by O’HAGAN MEYER, whose business address is 1601 Pacific
      Coast Highway, Suite 290, Hermosa Beach, CA 90254.
  6
  7             On July 23, 2021, I served the within document(s) described as:

  8    DECLARATION OF MATTHEW C. SGNILEK, ESQ. IN SUPPORT
  9    OF NOTICE OF REMOVAL OF CIVIL ACTION PURSUANT TO 28
                   U.S.C. §§ 1332, 1441, 1446, AND 1453
 10
 11   On the parties in said action as follows:

 12                                       See Service List
 13
                   [BY ELECTRONIC SERVICE] – I caused such document(s) to be
 14                electronically transmitted to the email addresses of the parties listed
 15                on the Service List pursuant to agreement with counsel for the parties
                   to receive service by e-mail.
 16
 17        I declare under penalty of perjury under the laws of the United States of
      America that the foregoing is true and correct.
 18
 19         Executed on July 23, 2021, at Hermosa Beach, California.
 20
 21
                                                  ____________________
 22                                                   Liana Bickford
 23
 24
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                                      CERTIFICATE OF SERVICE
Case 5:21-cv-01232-GW-KK Document 1-1 Filed 07/23/21 Page 79 of 79 Page ID #:102




  1                                    SERVICE LIST

  2              Raymond Murillo, et al. v. Brosnan Risk Consultants, Ltd.
  3              San Bernardino Superior Court Case No. CIVSB2106646

  4
  5    Attorneys for Plaintiff Raymond         SAMUEL A. WONG
  6   Murillo, individually, and on behalf     KASHIF HAQUE
        of all others similarly situated       JESSICA L. CAMPBELL
  7                                            AEGIS LAW FIRM, PC
  8                                            9811 Irvine Center Drive, Suite 100
                                               Irvine, California 92618
  9                                            Email: swong@aegislawfirm.com
 10                                            Email: khaque@aegislawfirm.com
                                               Email: jcampbell@aegislawfirm.com
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                                    CERTIFICATE OF SERVICE
